                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 1 of 64 Page ID #:4542



                                                                                             1   PAUL L. GALE (SBN 065873)
                                                                                                 paul.gale@ troutmansanders.com
                                                                                             2   PETER N. VILLAR (SBN 204038)
                                                                                                 peter.villar@ troutmansanders.com
                                                                                             3   TROUTMAN SANDERS LLP
                                                                                                 5 Park Plaza, Suite 1400
                                                                                             4   Irvine, California 92614-2545
                                                                                                 Telephone: (949) 622-2700
                                                                                             5   Facsimile: (949) 769-2052
                                                                                             6   JOHN M. BOWLER (pro hac vice)
                                                                                                 john.bowler@ troutmansanders.com
                                                                                             7   MICHAEL D. HOBBS (pro hac vice)
                                                                                                 michael.hobbs@ troutmansanders.com
                                                                                             8   LINDSAY MITCHELL HENNER (pro hac vice)
                                                                                                 lindsay.henner@ troutmansanders.com
                                                                                             9   TROUTMAN SANDERS LLP
                                                                                                 Bank of America Plaza
                                                                                            10   600 Peachtree Street NE, Suite 5200
                                                                                                 Atlanta, Georgia 30308-2216
                                                                                            11
                                                                                                 Attorneys for Defendant-Counterclaimant
T ROUTMAN S ANDERS LLP




                                                                                            12   Empire Distri bution Inc.
                                                               I R VI N E ,C A 92614-2545
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                          UNITED STATES DISTRICT COURT
                                                                                            14                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                            15                                  WESTERN DIVISION
                                                                                            16
                                                                                            17   TWENTIETH CENTURY FOX                    Case No. 2:15-cv-02158-PA-FFM
                                                                                                 TELEVISION, a division of
                                                                                            18   TWENTIETH CENTURY FOX                    Hon. Percy Anderson
                                                                                                 FILM CORPORATION, a Delaware
                                                                                            19   company, and FOX                         EMPIRE DISTRIBUTION, INC.’S
                                                                                                 BROADCASTING COMPANY, a                  STATEMENT OF GENUINE
                                                                                            20   Delaware corporation,                    DISPUTES OF MATERIAL FACT IN
                                                                                                                                          OPPOSITION TO FOX’S MOTION
                                                                                            21                    Plaintiffs,             FOR SUMMARY JUDGMENT
                                                                                            22           v.                              Date:    February 1, 2016
                                                                                                                                         Time:    1:30 p.m.
                                                                                            23   EMPIRE DISTRIBUTION, INC., a            Place:   Courtroom 15
                                                                                                 California corporation,
                                                                                            24
                                                                                                                  Defendant.
                                                                                            25
                                                                                            26   AND RELATED COUNTERCLAIM.
                                                                                            27
                                                                                            28
                                                                                                 27721652v2
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 2 of 64 Page ID #:4543



                                                                                             1           Defendant-Counterclaimant EMPIRE DISTRIBUTION, INC. (“EMPIRE”)
                                                                                             2   hereby submits this Statement of Genuine Disputes of Material Fact in Opposition
                                                                                             3   to Fox’s Motion for Summary Judgment.
                                                                                             4
                                                                                             5           FOX’S ALLEGED                            EMPIRE’S RESPONSE AND
                                                                                                     UNCONTROVERTED FACTS                               EVIDENCE
                                                                                             6
                                                                                             7                                     First Amendment
                                                                                             8    1.     Empire is a musical dramatic         Objection/Disputed in part.
                                                                                             9   television series set in New York, which     EMPIRE objects to this statement on the
                                                                                            10   tells the story of a fictional company       following grounds:
                                                                                            11   called Empire Enterprises.                   (1) Lacks foundation.
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                                                                                            12                                                (2) Hearsay.
                                                               I R VI N E ,C A 92614-2545
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                (3) Lacks authentication.
                                                                                            14                                                Subject to these objections, EMPIRE
                                                                                            15                                                does not dispute that Empire is a musical
                                                                                            16                                                dramatic television series. However,
                                                                                            17                                                there is conflicting evidence as to where
                                                                                            18                                                it is “set,”there is no evidence submitted
                                                                                            19                                                by Foxthat it is based on a “fictional”
                                                                                            20                                                company (and there is evidence to the
                                                                                            21                                                contrary including statements from Fox
                                                                                            22                                                that it is based on individuals and events
                                                                                            23                                                from the real world music industry), and
                                                                                            24                                                the company is actually called “Empire
                                                                                            25                                                Entertainment,”though it is also referred
                                                                                            26                                                to in the series as “Empire Enterprises”
                                                                                            27                                                and generally just as “Empire”in
                                                                                            28
                                                                                                 27721652v2                                -1-
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 3 of 64 Page ID #:4544



                                                                                             1
                                                                                                         FOX’S ALLEGED                           EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                              EVIDENCE
                                                                                             3                                               connection with the series and the sale
                                                                                             4                                               of music.
                                                                                             5                                                  Fox’s Evidence:
                                                                                             6                                                       Bywater Decl. ¶2
                                                                                             7                                                       Ryan Decl. ¶2
                                                                                             8                                                       Defendant’s Answer to
                                                                                             9                                                           Complaint, attached to Lens
                                                                                            10                                                           Decl. as Ex. 3 at p. 37 ¶10;p.
                                                                                            11                                                           38 ¶23
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                                                                                            12                                                       Defendant’s Counterclaims,
                                                               I R VI N E ,C A 92614-2545
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                           attached to Lens Decl. as Ex. 4
                                                                                            14                                                           at p. 54 ¶20
                                                                                            15                                                       DVDs of Empi
                                                                                                                                                                 re,lodged with
                                                                                            16                                                           Court as Exs. 11 & 13 to Lens
                                                                                            17                                                           Decl., passim,including, e.g.,
                                                                                            18                                                           Season 1, Episode 1 at 2:57
                                                                                            19                                                           (Statue of Liberty);Season 1,
                                                                                            20                                                           Episode 2 at 47:53-57
                                                                                            21                                                           (Lucious Lyon’s New York
                                                                                            22                                                           license plate and Statue of
                                                                                            23                                                           Liberty);Season 1, Episode 4
                                                                                            24                                                           at 36:06 (announcement for
                                                                                            25                                                           event in NYC at Leviticus, the
                                                                                            26                                                           club owned by Empire
                                                                                            27                                                           Enterprises)
                                                                                            28
                                                                                                 27721652v2                               -2-
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 4 of 64 Page ID #:4545



                                                                                             1
                                                                                                         FOX’S ALLEGED                           EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                              EVIDENCE
                                                                                             3                                                       Blazek Decl. ¶2
                                                                                             4                                                  EMPIRE’s Evidence:
                                                                                             5                                                       DVDs of Empi
                                                                                                                                                                 re, lodged with
                                                                                             6                                                         Court as Ex. 11 to Lens Decl.
                                                                                             7                                                         including Season 1 Pilot at
                                                                                             8                                                         6:31-6:39 (“I am proud to
                                                                                             9                                                         announce that Empire
                                                                                            10                                                         Entertainment has filed to
                                                                                            11                                                         become a publicly traded
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                                                                                            12
                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                       company on the New York
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                         Stock Exchange.”);45:16-25
                                                                                            14                                                         (“Ladies and gentlemen, it is
                                                                                            15                                                         my great honor to welcome
                                                                                            16                                                         back the heart and soul of
                                                                                            17                                                         Empire Enterprises, Ms.
                                                                                            18                                                         Cookie Lyon”;45:16-25;7:15-
                                                                                            19                                                         7:20 (“Your brother and I have
                                                                                            20                                                         been working hard to turn
                                                                                            21                                                         Empire into a publicly traded
                                                                                            22                                                         company”;9:20-9:22
                                                                                            23                                                         (reference to “Empire”);
                                                                                            24                                                         27:32-34 (reference to
                                                                                            25                                                         “Empire”);45:55 (reference to
                                                                                            26                                                         “Empire”);see also signage,
                                                                                            27                                                         symbols and labels reflecting
                                                                                            28
                                                                                                 27721652v2                               -3-
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 5 of 64 Page ID #:4546



                                                                                             1
                                                                                                         FOX’S ALLEGED                             EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                EVIDENCE
                                                                                             3                                                          the name “Empire”throughout
                                                                                             4                                                          series;33:16-33:23 (“You'
                                                                                                                                                                                re so
                                                                                             5                                                          pure only a couple hundred
                                                                                             6                                                          white kids in Brooklyn and
                                                                                             7                                                          San Francisco even know
                                                                                             8                                                          your stuff.”)
                                                                                             9                                                        Ryan Decl. ¶6 (various logos
                                                                                            10                                                          reflecting use of the standalone
                                                                                            11                                                          name “Empire”)
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                                                                                            12                                                        Bowler Decl., ¶4, Ex. 69
                                                               I R VI N E ,C A 92614-2545
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                          (Bywater Deposition
                                                                                            14                                                          Transcript) at 48:22-25, 49:3-
                                                                                            15                                                          5, 71:22-24, 72:5-7, 72:9-10,
                                                                                            16                                                          72:14, 72:24-13, 73:16-18,
                                                                                            17                                                          73:23-74:17, 75:18-24, 83:25-
                                                                                            18                                                          84:7, 84:11-21;89:10-25, 90:1,
                                                                                            19                                                          90:8-14, 91:2-3, 91:6-7, 91:10-
                                                                                            20                                                          17, 92:4-7, 92:10-19;93:1-11;
                                                                                            21                                                          Bywater Exs. 6, 7.
                                                                                            22
                                                                                                  2.     In Empi
                                                                                                               re, when drug-dealer-           Objection/Disputed in part.
                                                                                            23
                                                                                                 turned-music-mogul Lucious Lyon               EMPIRE objects to this statement on the
                                                                                            24
                                                                                                 (played by played by Academy Award-           following grounds:
                                                                                            25
                                                                                                 nominee Terrence Howard) is diagnosed (1) Improper citations in violation of the
                                                                                            26
                                                                                                 with a fatal disease, his ex-wife, Cookie     Court’s Scheduling Order dated July 23,
                                                                                            27
                                                                                                 (played by Academy Award-nominee              2015 stating that “[n]o party should
                                                                                            28
                                                                                                 27721652v2                                  -4-
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 6 of 64 Page ID #:4547



                                                                                             1
                                                                                                         FOX’S ALLEGED                           EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                              EVIDENCE
                                                                                             3   Taraji P. Henson), and their three sons     submit any evidence other than the
                                                                                             4   fight for future control over Lucious’      specific items of evidence or testimony
                                                                                             5   entertainment company.                      necessary to support or controvert a
                                                                                             6                                               proposed statement of undisputed fact
                                                                                             7                                               … ” (Scheduling Order, p.4:12-17.)
                                                                                             8                                               (2) Lacks foundation.
                                                                                             9                                                (3) Hearsay.
                                                                                            10                                               (4) Lacks authentication.
                                                                                            11                                               Subject to these objections, EMPIRE
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                                                                                            12
                                                               I R VI N E ,C A 92614-2545




                                                                                                                                             does not dispute that Lucious Lyon is
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                               played by Terrence Howard and that
                                                                                            14                                               Cookie Lyon is played by Taraji
                                                                                            15                                               Henson, or that Lucious Lyon is a “drug
                                                                                            16                                               dealer-turned-music mogul.” However,
                                                                                            17                                               that is a not a complete description of
                                                                                            18                                               Lucious Lyon’s character as he is also a
                                                                                            19                                               murderer, felon, homophobic and child
                                                                                            20                                               abuser.
                                                                                            21                                                   Fox’s Evidence:
                                                                                            22                                                       Cover of DVD set of Empire:
                                                                                            23                                                         The Complete First Season,
                                                                                            24                                                         attached to Lens Decl. as Ex.
                                                                                            25                                                         10 at p. 135
                                                                                            26                                                       DVDs of Empi
                                                                                                                                                                 re, lodged with
                                                                                            27                                                         Court as Exs. 11 & 13 to Lens
                                                                                            28
                                                                                                 27721652v2                                -5-
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 7 of 64 Page ID #:4548



                                                                                             1
                                                                                                         FOX’S ALLEGED                            EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                               EVIDENCE
                                                                                             3                                                          Decl., passim
                                                                                             4                                                        Blazek Decl. ¶2
                                                                                             5                                                        February 16, 2015 Letter From
                                                                                             6                                                          Defendant’s Counsel To Fox
                                                                                             7                                                          (Exhibit A to Fox’s
                                                                                             8                                                          Complaint), attached to Lens
                                                                                             9                                                          Decl. as Ex. 2 at p. 23.
                                                                                            10                                                    EMPIRE’s Evidence:
                                                                                            11                                                        DVDs of Empi
                                                                                                                                                                  re, lodged with
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                                                                                            12
                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                        Court as Ex. 11 to Lens Decl.
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                          including Season 1 Pilot at
                                                                                            14                                                          42:00-43:15 (murder scene);
                                                                                            15                                                          31:18-31:50 (scene of Lucious
                                                                                            16                                                          throwing his young gay child
                                                                                            17                                                          in garbage can);44:33-45:02
                                                                                            18                                                          (“You really aren'
                                                                                                                                                                         t ashamed of
                                                                                            19                                                          [gay son Jamal] ... I'
                                                                                                                                                                             m gonna
                                                                                            20                                                          show you a faggot really can
                                                                                            21                                                          run this company.”
                                                                                            22
                                                                                                  3.     The fictional Empire Enterprises     Objection/Disputed in part.
                                                                                            23
                                                                                                 produces hip-hop and R&B hits, owns a        EMPIRE objects to this statement on the
                                                                                            24
                                                                                                 nightclub, makes champagne and               following grounds:
                                                                                            25
                                                                                                 sneakers, and generates hundreds of          (1) Lacks foundation.
                                                                                            26
                                                                                                 millions of dollars in annual revenue.       (2) Hearsay.
                                                                                            27
                                                                                                                                              (3) Lacks authentication.
                                                                                            28
                                                                                                 27721652v2                                 -6-
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 8 of 64 Page ID #:4549



                                                                                             1
                                                                                                         FOX’S ALLEGED                           EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                              EVIDENCE
                                                                                             3                                                Subject to these objections, EMPIRE
                                                                                             4                                               disputes this statement to the extent it
                                                                                             5                                               refers to the “fictional Empire
                                                                                             6                                               Enterprises”. There is no evidence
                                                                                             7                                               submitted by Foxthat it is based on a
                                                                                             8                                               “fictional”company and there is
                                                                                             9                                               evidence to the contrary including
                                                                                            10                                               statements from Foxthat it is based on
                                                                                            11                                               individuals and events from the real
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                                                                                            12
                                                               I R VI N E ,C A 92614-2545




                                                                                                                                             world music industry. Moreover, the
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                               company is actually called “Empire
                                                                                            14                                               Entertainment,”though it is also referred
                                                                                            15                                               to in the series as “Empire Enterprises”
                                                                                            16                                               and generally just as “Empire”in
                                                                                            17                                               connection with the series and the sale
                                                                                            18                                               of music.
                                                                                            19                                                  Fox’s Evidence:
                                                                                            20                                                       DVDs of Empi
                                                                                                                                                                 re, lodged with
                                                                                            21                                                           Court as Exs. 11 & 13 to Lens
                                                                                            22                                                           Decl., passim, including, e.g.,
                                                                                            23                                                           Season 1, Episode 2 at 34:56
                                                                                            24                                                           (nightclub);Season 1, Episode
                                                                                            25                                                           8 at 28:46 (champagne);
                                                                                            26                                                           Season 1, Episode 2 at 1:38
                                                                                            27                                                           (sneakers);Season 1, Episode
                                                                                            28
                                                                                                 27721652v2                               -7-
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                       Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 9 of 64 Page ID #:4550



                                                                                             1
                                                                                                         FOX’S ALLEGED                           EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                              EVIDENCE
                                                                                             3                                                         9 at 31:59 (revenue)
                                                                                             4                                                       Blazek Decl. ¶2
                                                                                             5                                                  EMPIRE’s Evidence:
                                                                                             6                                                       DVDs of Empi
                                                                                                                                                                 re, lodged with
                                                                                             7                                                         Court as Ex. 11 to Lens Decl.
                                                                                             8                                                         including Season 1 Pilot at
                                                                                             9                                                         6:31-6:39 (“I am proud to
                                                                                            10                                                         announce that Empire
                                                                                            11                                                         Entertainment has filed to
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                                                                                            12
                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                       become a publicly traded
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                         company on the New York
                                                                                            14                                                         Stock Exchange.”);45:16-25
                                                                                            15                                                         (“Ladies and gentlemen, it is
                                                                                            16                                                         my great honor to welcome
                                                                                            17                                                         back the heart and soul of
                                                                                            18                                                         Empire Enterprises, Ms.
                                                                                            19                                                         Cookie Lyon”;45:16-25;7:15-
                                                                                            20                                                         7:20 (“Your brother and I have
                                                                                            21                                                         been working hard to turn
                                                                                            22                                                         Empire into a publicly traded
                                                                                            23                                                         company”;9:20-9:22
                                                                                            24                                                         (reference to “Empire”);
                                                                                            25                                                         27:32-34 (reference to
                                                                                            26                                                         “Empire”);45:55 (reference to
                                                                                            27                                                         “Empire”);see also signage,
                                                                                            28
                                                                                                 27721652v2                               -8-
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                            Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 10 of 64 Page ID
                                                                                                                             #:4551


                                                                                             1
                                                                                                         FOX’S ALLEGED                            EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                               EVIDENCE
                                                                                             3                                                          symbols and labels reflecting
                                                                                             4                                                          the name “Empire”throughout
                                                                                             5                                                          series;33:16-33:23 (“You'
                                                                                                                                                                                re so
                                                                                             6                                                          pure only a couple hundred
                                                                                             7                                                          white kids in Brooklyn and
                                                                                             8                                                          San Francisco even know
                                                                                             9                                                          your stuff.”)
                                                                                            10                                                        Ryan Decl. ¶6 (various logos
                                                                                            11                                                          reflecting use of the standalone
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                                                                                            12
                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                        name “Empire”)
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                        Bowler Decl., ¶4, Ex. 69
                                                                                            14                                                          (Bywater Deposition
                                                                                            15                                                          Transcript) at 48:22-25, 49:3-
                                                                                            16                                                          5, 71:22-24, 72:5-7, 72:9-10,
                                                                                            17                                                          72:14, 72:24-13, 73:16-18,
                                                                                            18                                                          73:23-74:17, 75:18-24, 83:25-
                                                                                            19                                                          84:7, 84:11-21;89:10-25, 90:1,
                                                                                            20                                                          90:8-14, 91:2-3, 91:6-7, 91:10-
                                                                                            21                                                          17, 92:4-7, 92:10-19;93:1-11;
                                                                                            22                                                          Bywater Exs. 6, 7.
                                                                                            23
                                                                                                  4.     Empire features songs in each           Undisputed.
                                                                                            24
                                                                                                 episode, including original songs
                                                                                            25
                                                                                                 produced by Timothy “Timbaland”
                                                                                            26
                                                                                                 Mosley.
                                                                                            27
                                                                                                  5.     The Soundtracks comprise songs       Objection/Undisputed in part.
                                                                                            28
                                                                                                 27721652v2                                -9-
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                            Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 11 of 64 Page ID
                                                                                                                             #:4552


                                                                                             1
                                                                                                         FOX’S ALLEGED                               EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                  EVIDENCE
                                                                                             3   that appear in Empire.                         EMPIRE objects to this statement on the
                                                                                             4                                                  following grounds:
                                                                                             5                                                  (1) Vague and ambiguous as to the term
                                                                                             6                                                  “Soundtracks”in this context.
                                                                                             7                                                  (2) Lacks foundation.
                                                                                             8                                                  Subject to these objections, and with the
                                                                                             9                                                  understanding that the term
                                                                                            10                                                  “Soundtracks”only refers to the two
                                                                                            11                                                  compilation CDs released by Fox(and
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                                                                                            12
                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                not all other singles and EPs), Empire
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                  does not dispute that the Original
                                                                                            14                                                  Soundtrack from Season 1 and the
                                                                                            15                                                  Original Soundtrack Season 2 include
                                                                                            16                                                  songs that appear in the Empi
                                                                                                                                                                            re series.
                                                                                            17
                                                                                                  6.     Defendant has not alleged in the       Objection/Disputed.
                                                                                            18
                                                                                                 Counterclaims that Foxhas made any             EMPIRE objects to this statement on the
                                                                                            19
                                                                                                 statements explicitly misleading               following grounds:
                                                                                            20
                                                                                                 consumers as to the source of Empi
                                                                                                                                  re or         (1) This is not a statement of fact as
                                                                                            21
                                                                                                 the Soundtracks.                               required by Local Rule 56-1 and this
                                                                                            22
                                                                                                                                                Court’s Scheduling Order dated July 23,
                                                                                            23
                                                                                                                                                2015 (Dkt. 23, p.3 ¶5.)
                                                                                            24
                                                                                                                                                (2) Irrelevant.
                                                                                            25
                                                                                                                                                (3) Argumentative.
                                                                                            26
                                                                                                                                                (4) Lacks foundation.
                                                                                            27
                                                                                                                                                Subject to these objections, EMPIRE
                                                                                            28
                                                                                                 27721652v2                                 - 10 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                            Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 12 of 64 Page ID
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                 disputes this statement as there are
                                                                                             4                                                 numerous such allegations in the
                                                                                             5                                                 Counterclaims. Moreover, Fox’s
                                                                                             6                                                 citation to the alleged absence of
                                                                                             7                                                 allegations in the Counterclaims is an
                                                                                             8                                                 improper attempt to circumvent all of
                                                                                             9                                                 the relevant evidence that has been
                                                                                            10                                                 provided to Foxin discovery as set forth
                                                                                            11                                                 in EMPIRE’s additional undisputed facts
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                               below.
                         5 P A R K P L A ZA
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                                                                                            13                                                      Fox’s Evidence:
                                                                                            14                                                          Defendant’s Counterclaims,
                                                                                            15                                                           attached to Lens Decl. as Ex. 4
                                                                                            16                                                           at pp. 47-71
                                                                                            17                                                      EMPIRE’s Evidence:
                                                                                            18                                                          EMPIRE’s Counterclaims,
                                                                                            19                                                           Lens Decl., Ex. 4 ¶¶1, 20, 21,
                                                                                            20                                                           22, 23, 32, 38, 45, 51, 53, 60,
                                                                                            21                                                           and 61.
                                                                                            22
                                                                                                  7.     Fox’s products do not contain any     Objection/Disputed.
                                                                                            23
                                                                                                 representation as to Empi
                                                                                                                         re                    EMPIRE objects to this statement on the
                                                                                            24
                                                                                                 Distribution’s endorsement or affiliation. following grounds:
                                                                                            25
                                                                                                                                               (1) Vague and ambiguous as to the terms
                                                                                            26
                                                                                                                                               “Fox’s products”, and “endorsement or
                                                                                            27
                                                                                                                                               affiliation.”
                                                                                            28
                                                                                                 27721652v2                                - 11 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                             EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                EVIDENCE
                                                                                             3                                                (2) Improper citations in violation of the
                                                                                             4                                                Court’s Scheduling Order dated July 23,
                                                                                             5                                                2015 stating that “[n]o party should
                                                                                             6                                                submit any evidence other than the
                                                                                             7                                                specific items of evidence or testimony
                                                                                             8                                                necessary to support or controvert a
                                                                                             9                                                proposed statement of undisputed fact
                                                                                            10                                                … ” (Scheduling Order, p.4:12-17.)
                                                                                            11                                                (3) Lacks foundation.
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                              (4) Hearsay.
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                (5) Irrelevant.
                                                                                            14                                                Subject to these objections, EMPIRE
                                                                                            15                                                disputes this statement as EMPIRE
                                                                                            16                                                contends that Fox’s use of the “Empire”
                                                                                            17                                                mark in connection with all goods and
                                                                                            18                                                services promoted, advertised, marketed,
                                                                                            19                                                distributed and sold in connection with
                                                                                            20                                                the Empi
                                                                                                                                                     re series and Empire series
                                                                                            21                                                music (including, but not limited to,
                                                                                            22                                                DVDs, CDs, singles, digital extended
                                                                                            23                                                plays (“EPs”), apparel and accessories)
                                                                                            24                                                misleads and confuses consumers as to
                                                                                            25                                                the endorsement or affiliation of such
                                                                                            26                                                goods and services.
                                                                                            27
                                                                                            28
                                                                                                 27721652v2                               - 12 -
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                             EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                EVIDENCE
                                                                                             3                                                     Fox’s Evidence:
                                                                                             4                                                         DVDs of Empire, lodged with
                                                                                             5                                                          Court as Exs. 11 & 13 to Lens
                                                                                             6                                                          Decl., passim
                                                                                             7                                                         Blazek Decl. ¶2
                                                                                             8                                                         CDs of Soundtracks, lodged
                                                                                             9                                                          with Court as Exs. 15 & 17 to
                                                                                            10                                                          Lens Decl., passim
                                                                                            11                                                         Cover of DVD set of Empire:
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                        The Complete First Season,
                         5 P A R K P L A ZA
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                                                                                            13                                                          attached to Lens Decl. as Ex.
                                                                                            14                                                          10 at p. 135
                                                                                            15                                                         Covers of albums Empi
                                                                                                                                                                            re:
                                                                                            16                                                          Ori
                                                                                                                                                          ginal Soundtrack From
                                                                                            17                                                          Season 1 and Empire:
                                                                                            18                                                          Ori
                                                                                                                                                          ginal Soundtrack Season 2
                                                                                            19                                                          Volume 1, attached to Lens
                                                                                            20                                                          Decl. as Exs. 14 & 16 at pp.
                                                                                            21                                                          143, 145
                                                                                            22                                                         Amazon.com sales pages for
                                                                                            23                                                          Empire: Music From The Pi
                                                                                                                                                                                lot
                                                                                            24                                                          and Empi
                                                                                                                                                               re: Music From A
                                                                                            25                                                          Man Si
                                                                                                                                                             nned Agai
                                                                                                                                                                     nst, attached
                                                                                            26                                                          to Lens Decl. ¶¶17-18 as Exs.
                                                                                            27                                                          18-19 at pp. 147-50 Ryan
                                                                                            28
                                                                                                 27721652v2                               - 13 -
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                           Decl. ¶6
                                                                                             4                                                      EMPIRE’s Evidence:
                                                                                             5                                                         Shami Decl., ¶¶84, 92, 93, 94,
                                                                                             6                                                           100, 114;Simon Decl. ¶¶2-3;
                                                                                             7                                                           Bowler Decl., ¶8, Ex. 73
                                                                                             8                                                           (Expert Report of Dr. Kristen
                                                                                             9                                                           J. Lieb) at ¶3, 34-45, 48;
                                                                                            10                                                           McDaniels Decl. ¶¶15-17;
                                                                                            11                                                           Douthit Decl. ¶¶14;Julien
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                         Decl. ¶¶22-26
                         5 P A R K P L A ZA
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                                                                                            13
                                                                                                                               Likelihood of Confusion
                                                                                            14
                                                                                                  8.     Defendant is a music record label     Undisputed in part.
                                                                                            15
                                                                                                 and music distribution company.               EMPIRE does not dispute that it is a
                                                                                            16
                                                                                                                                               music record label and music
                                                                                            17
                                                                                                                                               distribution company, but that is not a
                                                                                            18
                                                                                                                                               complete description of its business.
                                                                                            19
                                                                                                                                               EMPIRE is a full-service music
                                                                                            20
                                                                                                                                               company under the umbrella brand name
                                                                                            21
                                                                                                                                               “EMPIRE”which includes “EMPIRE
                                                                                            22
                                                                                                                                               Distribution”(which provides
                                                                                            23
                                                                                                                                               distribution goods and services),
                                                                                            24
                                                                                                                                               “EMPIRE Recordings”(which offers
                                                                                            25
                                                                                                                                               recording goods and services), and
                                                                                            26
                                                                                                                                               “EMPIRE Publishing”(which provides
                                                                                            27
                                                                                                                                               publishing goods and services).
                                                                                            28
                                                                                                 27721652v2                                - 14 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                               EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                  EVIDENCE
                                                                                             3                                                  (Shami Decl., ¶¶6-21)
                                                                                             4
                                                                                                  9.     Defendant does not allege in its       Objection/Disputed.
                                                                                             5
                                                                                                 Counterclaims that it produces broadcast EMPIRE objects to this statement on the
                                                                                             6
                                                                                                 television programming or that it intends following grounds:
                                                                                             7
                                                                                                 to expand into broadcast television            (1) This is not a statement of material
                                                                                             8
                                                                                                 programming.                                   fact as required by Local Rule 56-1 and
                                                                                             9
                                                                                                                                                this Court’s Scheduling Order dated July
                                                                                            10
                                                                                                                                                23, 2015 (Dkt. 23, p.3 ¶5).
                                                                                            11
                                                                                                                                                (2) Irrelevant.
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                (3) Argumentative.
                         5 P A R K P L A ZA
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                                                                                            13
                                                                                                                                                (4) Lacks foundation.
                                                                                            14
                                                                                                                                                (5) Vague and ambiguous as to the term
                                                                                            15
                                                                                                                                                “broadcast television programming”.
                                                                                            16
                                                                                                                                                Subject to these objections, EMPIRE
                                                                                            17
                                                                                                                                                disputes this statement in that EMPIRE
                                                                                            18
                                                                                                                                                has been involved in broadcast
                                                                                            19
                                                                                                                                                television programming and intends to
                                                                                            20
                                                                                                                                                expand into broadcast television
                                                                                            21
                                                                                                                                                programming.
                                                                                            22
                                                                                                                                                     Fox’s Evidence:
                                                                                            23
                                                                                                                                                         Defendant’s Counterclaims,
                                                                                            24
                                                                                                                                                          attached to Lens Decl. as Ex. 4
                                                                                            25
                                                                                                                                                          at pp. 47-71
                                                                                            26
                                                                                                                                                     EMPIRE’s Evidence:
                                                                                            27
                                                                                                                                                        Shami Decl. ¶¶136-141
                                                                                            28
                                                                                                 27721652v2                                 - 15 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3   10.     Defendant claims the rights to        Objection/Disputed.
                                                                                             4   three marks, none of which is federally       EMPIRE objects to this statement on the
                                                                                             5   registered: “Empire,”the application for      following grounds:
                                                                                             6   which was submitted in April 2015, and        (1) Lacks foundation.
                                                                                             7   “Empire Recordings”and “Empire                (2) Hearsay.
                                                                                             8   Distribution,”the applications for which      (3) Lacks authentication.
                                                                                             9   were submitted in December 2014, after        Subject to these objections, EMPIRE
                                                                                            10   Foxannounced on November 19, 2014             disputes this statement. Contrary to
                                                                                            11   the forthcoming premiere of Empi
                                                                                                                                re.            Fox’s statement, EMPIRE applied for
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                               federal registration of the “EMPIRE
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                 DISTRIBUTION”and “EMPIRE
                                                                                            14                                                 RECORDINGS”marks on January 24,
                                                                                            15                                                 2014, before Foxannounced the
                                                                                            16                                                 premiere of Empire. Moreover, contrary
                                                                                            17                                                 to Fox’s statement, the USPTO has
                                                                                            18                                                 approved the following five EMPIRE
                                                                                            19                                                 trademark applications, and will be
                                                                                            20                                                 publishing same on January 19, 2016:
                                                                                            21                                                 (1) EMPIRE DISTRIBUTION (Serial
                                                                                            22                                                 No. 86174484);(2) EMPIRE
                                                                                            23                                                 DISTRIBUTION (Serial No.
                                                                                            24                                                 86477123);(3) EMPIRE (Serial No.
                                                                                            25                                                 86174393);(4) EMPIRE (Serial No.
                                                                                            26                                                 86590415);and (5) EMPIRE (Serial No.
                                                                                            27                                                 86590385).
                                                                                            28
                                                                                                 27721652v2                                - 16 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3
                                                                                             4                                                      Fox’s Evidence:
                                                                                             5                                                          Compare Fox’s Complaint,
                                                                                             6                                                           attached to Lens Decl. as Ex. 2
                                                                                             7                                                           at p. 11 ¶14-16 wi
                                                                                                                                                                          th
                                                                                             8                                                           Defendant’s Answer to
                                                                                             9                                                           Complaint, attached to Lens
                                                                                            10                                                           Decl. as Ex. 3 at p. 37 ¶¶14-
                                                                                            11                                                           16
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                                                                                            12                                                          Reynolds Decl. ¶¶8-14
                                                               I R VI N E ,C A 92614-2545
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13                                                          Ryan Decl. ¶2
                                                                                            14                                                      EMPIRE’s Evidence:
                                                                                            15                                                         Hobbs Decl. ¶4-9, Ex. 1.
                                                                                            16
                                                                                                 11.     The USPTO has over 650                Objection/Disputed.
                                                                                            17
                                                                                                 registered or pending applications for        EMPIRE objects to this statement on the
                                                                                            18
                                                                                                 “empire”related marks.                        following grounds:
                                                                                            19
                                                                                                                                               (1) Lacks foundation.
                                                                                            20
                                                                                                                                               (2) Hearsay.
                                                                                            21
                                                                                                                                               (3) Lacks authentication.
                                                                                            22
                                                                                                                                               Subject to these objections, EMPIRE
                                                                                            23
                                                                                                                                               disputes this statement in that many of
                                                                                            24
                                                                                                                                               the purported “empire”related marks
                                                                                            25
                                                                                                                                               contained in the list submitted by Foxdo
                                                                                            26
                                                                                                                                               not contain the word “empire”. For
                                                                                            27
                                                                                                                                               example, Fox’s list erroneously includes
                                                                                            28
                                                                                                 27721652v2                                - 17 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                            Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 19 of 64 Page ID
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                 the names: “ACE MEDIA CORP”,
                                                                                             4                                                 “TXTPIRE”, “IE TREADS”, “1494
                                                                                             5                                                 IMPERIO”, “IMPERIO”, “IMPERIO
                                                                                             6                                                 SALSA”, “EMPYRE”, “IE”, “IMPERIO
                                                                                             7                                                 AJEDREZ”, “MPIREBOYZ”,
                                                                                             8                                                 “VIGILAR IMPERIO”, “IMPERIO
                                                                                             9                                                 DEL TIEMPO”, “EDM PIRE
                                                                                            10                                                 APPAREL”, “ES”, “ESRT”, “ESG”,
                                                                                            11                                                 “E.”, “AURUM IMPERIUM”,
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                                                                                            12
                                                               I R VI N E ,C A 92614-2545




                                                                                                                                               “IMPERIO DOS ACORES”, “YKE”,
                         5 P A R K P L A ZA
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                                                                                            13                                                 “MPIRE”, “IMPIRE”, “EPC”,
                                                                                            14                                                 “SHRIMP IMPERIO”, “TEIKOKU
                                                                                            15                                                 PHARMA USA”, “ANTIGUO
                                                                                            16                                                 IMPERIO”, “IESHINEON.COM”,
                                                                                            17                                                 “IEHP MEDICARE DUALCHOICE”,
                                                                                            18                                                 and “FEMPIRE”, among others.
                                                                                            19                                                      Fox’s Evidence:
                                                                                            20                                                          Empire Search Results from
                                                                                            21                                                           USPTO, attached to Reynolds
                                                                                            22                                                           Decl. ¶2 as Ex. 1 at pp. 10-27.
                                                                                            23                                                       EMPIRE’s Evidence:
                                                                                            24                                                          Empire Search Results from
                                                                                            25                                                           USPTO, Reynolds Decl. ¶2 as
                                                                                            26                                                           Ex. 1 at pp. 10-27.
                                                                                            27
                                                                                                 12.     Searches for corporations and         Objection.
                                                                                            28
                                                                                                 27721652v2                                - 18 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                               EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                  EVIDENCE
                                                                                             3   limited liability companies/limited            EMPIRE objects to this statement on the
                                                                                             4   partnerships on California’s Secretary of following grounds:
                                                                                             5   State website for entity names with the        (1) Lacks foundation.
                                                                                             6   word “empire”generates over 5,000              (2) Hearsay.
                                                                                             7   results.                                       (3) Lacks authentication.
                                                                                             8
                                                                                                 13.     Empire Distribution is not the         Objection.
                                                                                             9
                                                                                                 only record label with the word                EMPIRE objects to this statement on the
                                                                                            10
                                                                                                 “empire”as part of its name.                   following grounds:
                                                                                            11
                                                                                                                                                (1) Lacks foundation.
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                (2) Hearsay.
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13
                                                                                                                                                (3) Lacks authentication.
                                                                                            14
                                                                                                 14.     Defendant has admitted this case       Objection/Undisputed in part.
                                                                                            15
                                                                                                 constitutes its lone trademark                 EMPIRE objects to this statement on the
                                                                                            16
                                                                                                 enforcement effort.                            following grounds:
                                                                                            17
                                                                                                                                                (1) Vague and ambiguous as to the term
                                                                                            18
                                                                                                                                                “trademark enforcement effort.”
                                                                                            19
                                                                                                                                                (2) Lacks foundation.
                                                                                            20
                                                                                                                                                Subject to these objections, EMPIRE
                                                                                            21
                                                                                                                                                does not dispute that it has not filed any
                                                                                            22
                                                                                                                                                other trademark infringement lawsuits.
                                                                                            23
                                                                                                 15.     Foxhas never used the name             Objection.
                                                                                            24
                                                                                                 “Empire Distribution”on or in                   EMPIRE objects to this statement on
                                                                                            25
                                                                                                 connection with any of its products.           the following grounds:
                                                                                            26
                                                                                                                                                (1) Improper citations in violation of the
                                                                                            27
                                                                                                                                                Court’s Scheduling Order dated July 23,
                                                                                            28
                                                                                                 27721652v2                                 - 19 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                               EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                  EVIDENCE
                                                                                             3                                                  2015 stating that “[n]o party should
                                                                                             4                                                  submit any evidence other than the
                                                                                             5                                                  specific items of evidence or testimony
                                                                                             6                                                  necessary to support or controvert a
                                                                                             7                                                  proposed statement of undisputed fact
                                                                                             8                                                  … ” (Scheduling Order, p.4:12-17.)
                                                                                             9                                                  (2) Lacks foundation.
                                                                                            10                                                  (3) Hearsay.
                                                                                            11                                                  (4) Irrelevant.
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                                                               I R VI N E ,C A 92614-2545




                                                                                                 16.      Columbia Records, a division of       Disputed in part.
                         5 P A R K P L A ZA
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                                                                                            13
                                                                                                 Sony Music Entertainment, acts as the          EMPIRE does not dispute that Fox
                                                                                            14
                                                                                                 record label for the Empi
                                                                                                                         re soundtrack          identifies Columbia Records as the
                                                                                            15
                                                                                                 music and distributes Empire’s original        “record label”for the Empire series
                                                                                            16
                                                                                                 songs.                                         music, but denies the balance of the
                                                                                            17
                                                                                                                                                request insofar as Foxexercises control
                                                                                            18
                                                                                                                                                over Columbia’s release of the music.
                                                                                            19
                                                                                                                                                In fact, Foxomits the relevant portion of
                                                                                            20
                                                                                                                                                paragraphs it cites from the declarations
                                                                                            21
                                                                                                                                                of Bywater and Ross stating that the
                                                                                            22
                                                                                                                                                release of the Empire series music is
                                                                                            23
                                                                                                                                                done only “[w]ith the permission of
                                                                                            24
                                                                                                                                                Fox.” (Bywater Decl. ¶3, Ross Decl. ¶
                                                                                            25
                                                                                                                                                2.) Moreover, Foxhas used the
                                                                                            26
                                                                                                                                                “Empire”name as a source-identifier
                                                                                            27
                                                                                                                                                outside of the construct of the Empi
                                                                                                                                                                                   re
                                                                                            28
                                                                                                 27721652v2                                 - 20 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                             EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                EVIDENCE
                                                                                             3                                                series, including by suggesting, for
                                                                                             4                                                instance, that “Empire”or “Empire
                                                                                             5                                                Entertainment”or “Empire Enterprises”
                                                                                             6                                                is a real-life record label creating and
                                                                                             7                                                releasing the Empire series music.
                                                                                             8                                                     Fox’s Evidence:
                                                                                             9                                                         Bywater Decl. ¶3
                                                                                            10                                                         Ross Decl. ¶2-5
                                                                                            11                                                     EMPIRE’s Evidence:
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                                                                                            12                                                         Bywater Decl. ¶3
                                                               I R VI N E ,C A 92614-2545
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                                                                                            13                                                         Ross Decl. ¶2
                                                                                            14                                                         Bowler Decl., ¶4, Ex. 69 at
                                                                                            15                                                           22:3-5, 22:10-18, 22:25-23:1,
                                                                                            16                                                           23:4-6;23:8-9, 23:14-24:4;
                                                                                            17                                                           24:8-25:7, 25:11-23, 32:23-
                                                                                            18                                                           33:10, 33:14-15, 33:21-34:5,
                                                                                            19                                                           34:9-10, 34:13-14, 34:16-22,
                                                                                            20                                                           37:22-23, 38:2-10, 38:25-39:5,
                                                                                            21                                                           39:7-13, 39:18-22;59:4-7,
                                                                                            22                                                           66:24-67:5, 67:8-21, 70:2-17,
                                                                                            23                                                           70:21, 85:3-10, 85:14-17,
                                                                                            24                                                           130:15-17, 130:20-22, 131:4-
                                                                                            25                                                           6;132:2-5, 132:14-17, 132:20-
                                                                                            26                                                           24, 133:2-5, 133:9-13, 133:15-
                                                                                            27                                                           16, 133:20, 133:24-134:1,
                                                                                            28
                                                                                                 27721652v2                               - 21 -
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                   OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                          134:9-10, 134:13-17, 134:20-
                                                                                             4                                                          137:11, 138:8-14, 138:17-24;
                                                                                             5                                                          139:20-140:11;140:20-141:2;
                                                                                             6                                                          142:19-143:4;143:15-20;
                                                                                             7                                                          144:8-17, 145:2-12, 158:5-8,
                                                                                             8                                                          158:11-21, 163:1-3, 163:10-
                                                                                             9                                                          164:1, 164:5-7, 164:11-
                                                                                            10                                                          164:24, 165:15-16, 165:19-21,
                                                                                            11                                                          167:3-4, 167:7, 208:3-6;
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                                                                                                                                                        209:15-24, 210:4-5, 210:8-1;
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                                                                                            13                                                          Bywater Exs. 3, 4, 10, 11, 12,
                                                                                            14                                                          13, 30.
                                                                                            15
                                                                                                 17.     Empire: The Ori
                                                                                                                       ginal Soundtrack        Objection.
                                                                                            16
                                                                                                 From Season 1 is released and                 EMPIRE objects to this statement on the
                                                                                            17
                                                                                                 distributed with the album cover shown        following grounds:
                                                                                            18
                                                                                                 in Exhibit 2 to the Ross Declaration.         (1) Hearsay.
                                                                                            19
                                                                                                                                               (2) Lacks foundation.
                                                                                            20
                                                                                                 18.     Empire: The Ori
                                                                                                                       ginal Soundtrack        Objection.
                                                                                            21
                                                                                                 Season 2 Volume 1 is released and             EMPIRE objects to this statement on the
                                                                                            22
                                                                                                 distributed with the album cover shown        following grounds:
                                                                                            23
                                                                                                 in Exhibit 3 to the Ross Declaration.         (1) Hearsay.
                                                                                            24
                                                                                                                                               (2) Lacks foundation.
                                                                                            25
                                                                                                 19.     Empire: The Ori
                                                                                                                       ginal Soundtrack        Objection.
                                                                                            26
                                                                                                 From Season 1 debuted as the number           EMPIRE objects to this statement on the
                                                                                            27
                                                                                                 one album on the Billboard 200 chart for following grounds:
                                                                                            28
                                                                                                 27721652v2                                - 22 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3   the week of March 28, 2015.                   (1) Hearsay.
                                                                                             4                                                 (2) Lacks foundation.
                                                                                             5
                                                                                                 20.     Foxhas sold hundreds of               Undisputed.
                                                                                             6
                                                                                                 thousands of units of the music
                                                                                             7
                                                                                                 associated with Empi
                                                                                                                    re.
                                                                                             8
                                                                                                 21.     Empire’s Season 1 finale attracted Undisputed.
                                                                                             9
                                                                                                 more than 16 million same-day viewers.
                                                                                            10
                                                                                                 22.     Empire’s Season 2 premiere            Undisputed.
                                                                                            11
                                                                                                 debuted to an audience of over 20
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                                                                                                 million viewers.
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                                                                                            13
                                                                                                 23.     Consumers who purchase                Objection.
                                                                                            14
                                                                                                 soundtracks are generally familiar with       EMPIRE objects to this statement on the
                                                                                            15
                                                                                                 the underlying show or movie.                 following grounds:
                                                                                            16
                                                                                                                                                (1) Vague and ambiguous as to the
                                                                                            17
                                                                                                                                               terms “soundtracks”, “generally
                                                                                            18
                                                                                                                                               familiar”and “underlying show or
                                                                                            19
                                                                                                                                               movie”.
                                                                                            20
                                                                                                                                               (2) Lacks foundation.
                                                                                            21
                                                                                                                                               (3) Hearsay.
                                                                                            22
                                                                                                 24.     Foxuses the marks shown in            Undisputed but incomplete.
                                                                                            23
                                                                                                 Figures 2-5 of Complaint;Paragraph 21         EMPIRE does not dispute that Foxuses
                                                                                            24
                                                                                                 of defendant’s Counterclaims (first           the “EMPIRE”marks depicted in the
                                                                                            25
                                                                                                 image);Paragraph 6 of the Declaration         pleadings and declarations cited.
                                                                                            26
                                                                                                 of Shannon Ryan;and Exhibits 2-3 of           However, EMPIRE does not agree that
                                                                                            27
                                                                                                 the Declaration of Andrew Ross.               these examples encompass all of Fox’s
                                                                                            28
                                                                                                 27721652v2                                - 23 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                               EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                  EVIDENCE
                                                                                             3                                                  uses of the “EMPIRE”marks.
                                                                                             4
                                                                                                 25.     Fox’s Empire marks are generally       Objection/Disputed.
                                                                                             5
                                                                                                 accompanied by the Foxhouse mark               EMPIRE objects to this statement on the
                                                                                             6
                                                                                                 and/or well-known elements from the            following grounds:
                                                                                             7
                                                                                                 show.                                           (1) Vague and ambiguous as to the
                                                                                             8
                                                                                                                                                terms “generally accompanied,”“Fox
                                                                                             9
                                                                                                                                                house mark”, and “well-known elements
                                                                                            10
                                                                                                                                                from the show.”
                                                                                            11
                                                                                                                                                (2) Lacks foundation.
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                                                                                                                                                (3) Hearsay.
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13
                                                                                                                                                 Subject to these objections, EMPIRE
                                                                                            14
                                                                                                                                                disputes this assertion. In fact, Shannon
                                                                                            15
                                                                                                                                                Ryan contradicts this assertion in
                                                                                            16
                                                                                                                                                paragraph 6 of her declaration as several
                                                                                            17
                                                                                                                                                of the “EMPIRE”logos she references
                                                                                            18
                                                                                                                                                are standalone “EMPIRE”logos without
                                                                                            19
                                                                                                                                                any reference to Foxor the Empire
                                                                                            20
                                                                                                                                                series.
                                                                                            21
                                                                                                                                                     Fox’s Evidence:
                                                                                            22
                                                                                                                                                           Ryan Decl. ¶5
                                                                                            23
                                                                                                                                                     EMPIRE’s Evidence:
                                                                                            24
                                                                                                                                                           Ryan Decl. ¶6 Fig. 2, Fig. 6 &
                                                                                            25
                                                                                                                                                             Fig. 7
                                                                                            26
                                                                                                 26.     Foxhas spent millions of dollars       Objection.
                                                                                            27
                                                                                                 to advertise and promote Empi
                                                                                                                             re and the EMPIRE objects to this statement on the
                                                                                            28
                                                                                                 27721652v2                                 - 24 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
                                                                                            Case 2:15-cv-02158-PA-FFM Document 68-2 Filed 01/19/16 Page 26 of 64 Page ID
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3   Soundtracks.                                  following grounds:
                                                                                             4                                                 (1) Vague and ambigious as to the term
                                                                                             5                                                 “the Soundtracks.”
                                                                                             6                                                 (2) Lacks foundation.
                                                                                             7
                                                                                                 27.     The necklace depicted in              Objection/Undisputed in part.
                                                                                             8
                                                                                                 Paragraph 22 of Empire Distribution’s         EMPIRE objects to this statement on the
                                                                                             9
                                                                                                 Counterclaims was used as a prop on the following grounds:
                                                                                            10
                                                                                                 show and was not offered for sale.            (1) Lacks foundation.
                                                                                            11
                                                                                                                                               (2) Hearsay.
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                                                                                                                                               (3) Irrelevant.
                         5 P A R K P L A ZA
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                                                                                            13
                                                                                                                                               Subject to these objections, EMPIRE
                                                                                            14
                                                                                                                                               does not dispute that the necklace may
                                                                                            15
                                                                                                                                               have been used as a prop on the Empi
                                                                                                                                                                                  re
                                                                                            16
                                                                                                                                               show but disputes that it was used
                                                                                            17
                                                                                                                                               exclusively as a prop on the show. In
                                                                                            18
                                                                                                                                               fact, Foxspent considerable time and
                                                                                            19
                                                                                                                                               effort promoting the necklace and city
                                                                                            20
                                                                                                                                               skyline graphic on Twitter, Instagram
                                                                                            21
                                                                                                                                               and other social media.
                                                                                            22
                                                                                                 28.     Defendant uses the logos              Undisputed but incomplete.
                                                                                            23
                                                                                                 identified in Paragraphs 16, 17, 18, 21       EMPIRE does not dispute that it uses the
                                                                                            24
                                                                                                 and 22 of its Counterclaims.                  logos identified in paragraphs 16, 17, 18,
                                                                                            25
                                                                                                                                               21 and 22. However, EMPIRE disputes
                                                                                            26
                                                                                                                                               that those are the only logos it has used.
                                                                                            27
                                                                                                                                               (Shami Decl., ¶35.)
                                                                                            28
                                                                                                 27721652v2                                - 25 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3   29.     Defendant alleges shared use of       Objection/Disputed.
                                                                                             4   “online stores such as iTunes, Google         EMPIRE objects to this statement on the
                                                                                             5   Play, Amazon.com, and Spotify”but             following grounds:
                                                                                             6   does not allege in its Counterclaims that     (1) This is not a statement of fact as
                                                                                             7   it advertises its marks on television,        required by Local Rule 56-1 and this
                                                                                             8   billboards, or print media.                   Court’s Scheduling Order dated July 23,
                                                                                             9                                                 2015 (Dkt. 23, p.3 ¶5.)
                                                                                            10                                                 (2) Irrelevant.
                                                                                            11                                                 (3) Argumentative.
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                               Subject to these objections, EMPIRE
                         5 P A R K P L A ZA
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                                                                                            13                                                 disputes this assertion as there are
                                                                                            14                                                 multiple such allegations (general and
                                                                                            15                                                 specific) in the Counterclaims.
                                                                                            16                                                      Fox’s Evidence:
                                                                                            17                                                          Defendant’s Counterclaims,
                                                                                            18                                                           attached to Lens Decl. as Ex. 4
                                                                                            19                                                           at p. 55 ¶23;pp. 47-71
                                                                                            20                                                      EMPIRE’s Evidence:
                                                                                            21                                                         EMPIRE’s Counterclaims,
                                                                                            22                                                           Lens Decl., Ex. 4 at ¶¶9
                                                                                            23                                                           (“Empire promotes, markets
                                                                                            24                                                           and sells its music through
                                                                                            25                                                           various channels of
                                                                                            26                                                           commerce”), 10 (“sponsored
                                                                                            27                                                           sold-out showcases under its
                                                                                            28
                                                                                                 27721652v2                                - 26 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                          name at events such as South
                                                                                             4                                                          by Southwest”), 14 (“The
                                                                                             5                                                          Marks have been used
                                                                                             6                                                          prominently in press releases
                                                                                             7                                                          and coverage of those
                                                                                             8                                                          records”), 15 (“the Marks have
                                                                                             9                                                          been the subject of broad
                                                                                            10                                                          advertising and promotional
                                                                                            11                                                          campaigns, leading to a
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                        prominent presence, both
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                                                                                            13                                                          online and offline”), 16 (“one
                                                                                            14                                                          of Empire’s Marks was
                                                                                            15                                                          promoted … in person at the
                                                                                            16                                                          A3C hip hop festival”), 18
                                                                                            17                                                          (poster at televised BET
                                                                                            18                                                          awards).
                                                                                            19
                                                                                                 30.     Defendant’s examples of its           Disputed in part.
                                                                                            20
                                                                                                 “Marks [being] promoted online”are            EMPIRE does not dispute that one
                                                                                            21
                                                                                                 Instagram posts by its CEO, Ghazi             example in its Counterclaims of its
                                                                                            22
                                                                                                 Shami, with the posting in Paragraph 16       marks being promoted online included a
                                                                                            23
                                                                                                 receiving 25 likes.                           post in October 2012 by EMPIRE’s
                                                                                            24
                                                                                                                                               CEO Ghazi Shami which, at the time of
                                                                                            25
                                                                                                                                               the screenshot, had received 25 “likes.”
                                                                                            26
                                                                                                                                               However, EMPIRE disputes that is the
                                                                                            27
                                                                                                                                               only example of online promotion of
                                                                                            28
                                                                                                 27721652v2                                - 27 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                               EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                  EVIDENCE
                                                                                             3                                                  EMPIRE’s marks provided in the
                                                                                             4                                                  Counterclaims including multiple other
                                                                                             5                                                  Instagram posts that received many
                                                                                             6                                                  hundreds of “likes”, online promotion on
                                                                                             7                                                  EMPIRE’s websites http://empi.re and
                                                                                             8                                                  www.empiredistribution .com, and
                                                                                             9                                                  promotion in online stores including
                                                                                            10                                                  iTunes, Google Play, Amazon.com, and
                                                                                            11                                                  Spotify.
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                     Fox’s Evidence:
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                                                                                            13                                                           Defendant’s Counterclaims,
                                                                                            14                                                             attached to Lens Decl. as Ex. 4
                                                                                            15                                                             at pp. 52-53 ¶¶16-18
                                                                                            16                                                       EMPIRE’s Evidence:
                                                                                            17                                                          EMPIRE’s Counterclaims,
                                                                                            18                                                             Lens Decl., Ex. 4 at ¶¶9, 17,
                                                                                            19                                                             18, 23, 26, 29
                                                                                            20
                                                                                                 31.     As of the date of filing, Ghazi        Objection.
                                                                                            21
                                                                                                 Shami’s Instagram account has fewer            EMPIRE objects to this statement on the
                                                                                            22
                                                                                                 than 5,000 followers.                          following grounds:
                                                                                            23
                                                                                                                                                (1) Lacks foundation.
                                                                                            24
                                                                                                                                                (2) Hearsay.
                                                                                            25
                                                                                                 32.     As of the date of filing, Empire       Objection.
                                                                                            26
                                                                                                 Distribution’s Instagram account has           EMPIRE objects to this statement on the
                                                                                            27
                                                                                                 approximately 6,000 followers.                 following grounds:
                                                                                            28
                                                                                                 27721652v2                                 - 28 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                 (1) Lacks foundation.
                                                                                             4                                                 (2) Hearsay.
                                                                                             5
                                                                                                 33.     As of the date of filing, Fox’s       Objection.
                                                                                             6
                                                                                                 Empire Instagram account has over 1.6         EMPIRE objects to this statement on the
                                                                                             7
                                                                                                 million followers.                            following grounds:
                                                                                             8
                                                                                                                                               (1) Lacks foundation.
                                                                                             9
                                                                                                                                               (2) Hearsay.
                                                                                            10
                                                                                                 34.     The screenshots of albums in          Disputed.
                                                                                            11
                                                                                                 Paragraph 23 of defendant’s                   The first screenshot in paragraph 23 of
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                                                               I R VI N E ,C A 92614-2545




                                                                                                 Counterclaims do not show defendant’s         EMPIRE’s Counterclaims (on the
                         5 P A R K P L A ZA
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                                                                                            13
                                                                                                 marks;defendant highlighted the albums bottom of page 9) shows EMPIRE’s
                                                                                            14
                                                                                                 it released.                                  marks including the marks “EMPIRE
                                                                                            15
                                                                                                                                               Distribution”and “EMPIRE”. The other
                                                                                            16
                                                                                                                                               screenshots in paragraph 23 (pages 10,
                                                                                            17
                                                                                                                                               11 and 12) also show EMPIRE’s mark
                                                                                            18
                                                                                                                                               “EMPIRE”albeit on several of the
                                                                                            19
                                                                                                                                               albums released by Fox, which, as
                                                                                            20
                                                                                                                                               shown, are sold in close proximity to
                                                                                            21
                                                                                                                                               EMPIRE’s music because they share the
                                                                                            22
                                                                                                                                               same search terms and genres.
                                                                                            23
                                                                                                                                                    Fox’s Evidence:
                                                                                            24
                                                                                                                                                        Defendant’s Counterclaims,
                                                                                            25
                                                                                                                                                         attached to Lens Decl. as Ex. 4
                                                                                            26
                                                                                                                                                         at pp. 55-58 ¶23
                                                                                            27
                                                                                                                                                    EMPIRE’s Evidence:
                                                                                            28
                                                                                                 27721652v2                                - 29 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                         Defendant’s Counterclaims,
                                                                                             4                                                           Lens Decl., Ex. 4 at pp. 55-58
                                                                                             5                                                           ¶23
                                                                                             6
                                                                                                 35.     The poster in Paragraph 27 of         Disputed.
                                                                                             7
                                                                                                 defendant’s Counterclaims lists “Yazz of EMPIRE disputes this statement in that
                                                                                             8
                                                                                                 Fox’s Hit TV Show ‘Empire.’”                  Fox’s assertion misstates and
                                                                                             9
                                                                                                                                               mischaracterizes the content of the
                                                                                            10
                                                                                                                                               poster in paragraph 27 of EMPIRE’s
                                                                                            11
                                                                                                                                               Counterclaims. The poster lists Dizzy
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                               Wright, Hospin, Jarren Benton, Joey
                         5 P A R K P L A ZA
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                                                                                            13
                                                                                                                                               Bada$$, Dej Loaf, Rayven Justie, Jay
                                                                                            14
                                                                                                                                               305, Chedda Da Connect and Yazz “of
                                                                                            15
                                                                                                                                               Fox’s Hit Show ‘Empire’”. This
                                                                                            16
                                                                                                                                               mistakenly suggests that all of these rap
                                                                                            17
                                                                                                                                               artists are affiliated with the Empire
                                                                                            18
                                                                                                                                               television series;however, Dizzy
                                                                                            19
                                                                                                                                               Wright, Hospin, Jarren Benton, Rayven
                                                                                            20
                                                                                                                                               Justice and Pia Mia are EMPIRE rap
                                                                                            21
                                                                                                                                               artists not affiliated with the Empire
                                                                                            22
                                                                                                                                               television series.
                                                                                            23
                                                                                                                                                    Fox’s Evidence:
                                                                                            24
                                                                                                                                                        Defendant’s Counterclaims,
                                                                                            25
                                                                                                                                                         attached to Lens Decl. as Ex. 4
                                                                                            26
                                                                                                                                                         at pp. 59-60 ¶27
                                                                                            27
                                                                                                                                                    EMPIRE’s Evidence:
                                                                                            28
                                                                                                 27721652v2                                - 30 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                         EMPIRE’s Counterclaims,
                                                                                             4                                                           Lens Decl., Ex. 4 at pp. 59-60
                                                                                             5                                                           ¶27
                                                                                             6
                                                                                                 36.     The Instagram comment                 Disputed.
                                                                                             7
                                                                                                 “#teamCookie”in Paragraph 29 of               EMPIRE disputes this statement in that
                                                                                             8
                                                                                                 defendant’s Counterclaims contains no         the Instagram comment in paragraph 29
                                                                                             9
                                                                                                 other text.                                   of EMPIRE’s Counterclaims contains
                                                                                            10
                                                                                                                                               other highly relevant text that evidences
                                                                                            11
                                                                                                                                               the confusion between EMPIRE and the
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                                                                                                                                               Empire television series. Shaggy, a
                         5 P A R K P L A ZA
                                              S U I T E 1400




                                                                                            13
                                                                                                                                               Grammy award winner and one of the
                                                                                            14
                                                                                                                                               best selling reggae musicians of all time,
                                                                                            15
                                                                                                                                               posted EMPIRE’s logo on the internet
                                                                                            16
                                                                                                                                               and commented #therealempire #empire
                                                                                            17
                                                                                                                                               (referring to EMPIRE the record label).
                                                                                            18
                                                                                                                                               In response to Shaggy’s comment,
                                                                                            19
                                                                                                                                               another user posted the comments
                                                                                            20
                                                                                                                                               #loveit and #teamCookie (referring to
                                                                                            21
                                                                                                                                               the lead character in the Empi
                                                                                                                                                                            re
                                                                                            22
                                                                                                                                               television series).
                                                                                            23
                                                                                                                                                    Fox’s Evidence:
                                                                                            24
                                                                                                                                                        Defendant’s Counterclaims,
                                                                                            25
                                                                                                                                                         attached to Lens Decl. as Ex. 4
                                                                                            26
                                                                                                                                                         at pp. 60-61 ¶29
                                                                                            27
                                                                                                                                                    EMPIRE’s Evidence:
                                                                                            28
                                                                                                 27721652v2                                - 31 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         FOX’S ALLEGED                                EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                   EVIDENCE
                                                                                             3                                                          EMPIRE’s Counterclaims,
                                                                                             4                                                              Lens Decl., Ex. 4 at pp. 60-61
                                                                                             5                                                              ¶29
                                                                                             6
                                                                                                 37.     The Facebook comment in                 Undisputed but incomplete.
                                                                                             7
                                                                                                 Paragraph 30 of defendant’s                     EMPIRE does not dispute that the rap
                                                                                             8
                                                                                                 Counterclaims by GSlaps, states, in part, and hip hop music company Glaps
                                                                                             9
                                                                                                 that “@ nima_empire ... agreed to have          Entertainment, posted a comment on its
                                                                                            10
                                                                                                 Empire (NOT the TV show) digitally              Facebook site praising EMPIRE for the
                                                                                            11
                                                                                                 distribute the music of @ JohnnyPhrank          fame, success and longevity of the
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                                                                                                 and @ Alocodaman;two artists who I              “Empire logo”over the years (clarifying
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                                                                                            13
                                                                                                 manage.”                                        that it was referring to EMPIRE not the
                                                                                            14
                                                                                                                                                 Empire television show), which is set
                                                                                            15
                                                                                                                                                 forth in full in paragraph 30 of
                                                                                            16
                                                                                                                                                 EMPIRE’s Counterclaims (Lens Decl.,
                                                                                            17
                                                                                                                                                 Ex. 4 at pp. 61-62 ¶30). However,
                                                                                            18
                                                                                                                                                 Fox’s assertion includes only a select
                                                                                            19
                                                                                                                                                 portion of that comment taken out of
                                                                                            20
                                                                                                                                                 context.
                                                                                            21
                                                                                                 38.     When asked to state the basis for       Objection/Disputed in part.
                                                                                            22
                                                                                                 its allegation of confusion in Paragraph        EMPIRE objects to this statement on the
                                                                                            23
                                                                                                 20 of the Counterclaims, defendant              following grounds:
                                                                                            24
                                                                                                 listed the examples found in its response (1) This is not a statement of material
                                                                                            25
                                                                                                 to Interrogatory No. 8.                         fact as required by Local Rule 56-1 and
                                                                                            26
                                                                                                                                                 this Court’s Scheduling Order dated July
                                                                                            27
                                                                                                                                                 23, 2015 (Dkt. 23, p.3 ¶5).
                                                                                            28
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                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                 (2) Argumentative.
                                                                                             4                                                 Subject to these objections, EMPIRE
                                                                                             5                                                 does not dispute that it listed certain
                                                                                             6                                                 “examples”of confusion in its response
                                                                                             7                                                 to Fox’s First Set of Interrogatories,
                                                                                             8                                                 Interrogatory No. 8. EMPIRE disputes
                                                                                             9                                                 that these are the only examples, as
                                                                                            10                                                 expressly stated in EMPIRE’s response,
                                                                                            11                                                 including the additional examples of
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                                                                                                                                               confusion set forth in EMPIRE’s
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                                                                                            13                                                 additional material facts below.
                                                                                            14                                                 (3) Irrelevant.
                                                                                            15                                                      Fox’s Evidence:
                                                                                            16                                                          Defendant’s Responses To
                                                                                            17                                                           Fox’s First Set of
                                                                                            18                                                           Interrogatories, attached to
                                                                                            19                                                           Lens Decl. as Ex. 5 at pp. 75-
                                                                                            20                                                           77 (Interrogatory No. 8)
                                                                                            21                                                      EMPIRE’s Evidence:
                                                                                            22                                                         EMPIRE’s Responses To
                                                                                            23                                                           Fox’s First Set of
                                                                                            24                                                           Interrogatories, Lens Decl., Ex.
                                                                                            25                                                           5 at pp. 75-77 (Interrogatory
                                                                                            26                                                           No. 8)
                                                                                            27
                                                                                                 39.     Expert Deborah Jay concluded          Objection/Disputed.
                                                                                            28
                                                                                                 27721652v2                                - 33 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         FOX’S ALLEGED                                EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                   EVIDENCE
                                                                                             3   that the survey she conducted “strongly         EMPIRE objects to this statement on the
                                                                                             4   supports the conclusion that potential          following grounds:
                                                                                             5   viewers of the Empire television series         (1) The expression of an opinion, in and
                                                                                             6   are not likely to mistakenly believe that       of itself, is not a statement of fact as
                                                                                             7   Empire Distribution (or Empire                  required by Local Rule 56-1 and this
                                                                                             8   Recordings) is the source, the sponsor          Court’s Scheduling Order dated July 23,
                                                                                             9   of, or affiliated with the Empi
                                                                                                                               re                2015 (Dkt. 23, p.3 ¶5).
                                                                                            10   television series (i.e., there is not a         (2) Hearsay.
                                                                                            11   likelihood of confusion).”                      (3) Lacks foundation.
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                                                                                                                                                 Subject to these objections, EMPIRE
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                                                                                            13                                                   does not dispute that the expert hired by
                                                                                            14                                                   Fox, Deborah Jay, submitted a report
                                                                                            15                                                   expressing, in part, this opinion.
                                                                                            16                                                   However, EMPIRE strongly disputes
                                                                                            17                                                   both the opinion and the factual basis of
                                                                                            18                                                   the opinion as set forth in the rebuttal
                                                                                            19                                                   Expert Report of Dr. Joel H. Steckel and
                                                                                            20                                                   rebuttal Expert Report of Kristin J. Lieb.
                                                                                            21                                                        Fox’s Evidence:
                                                                                            22                                                            Report of Deborah Jay,
                                                                                            23                                                              attached to Lens Decl. as Ex. 8
                                                                                            24                                                              at p. 96
                                                                                            25                                                        EMPIRE’s Evidence:
                                                                                            26                                                           Bowler Decl., ¶8, Ex. 73
                                                                                            27                                                             (Expert Report of Dr. Kristen
                                                                                            28
                                                                                                 27721652v2                                  - 34 -
                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         FOX’S ALLEGED                               EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                  EVIDENCE
                                                                                             3                                                            J. Lieb) at ¶3, 34-45, 48;
                                                                                             4                                                            Bowler Decl., ¶7, Ex. 72
                                                                                             5                                                            (Expert Report of Dr. Joel H.
                                                                                             6                                                            Steckel) at p. 9, ¶¶21, 22;
                                                                                             7                                                            McDaniels Decl. ¶¶15-17;
                                                                                             8                                                            Douthit Decl. ¶¶14;Julien
                                                                                             9                                                            Decl. ¶¶22-26;Shami Decl.,
                                                                                            10                                                            ¶¶84, 92, 93, 94, 100, 114;
                                                                                            11                                                            Simon Decl. ¶¶2-3;Bowler
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                                                                                                                                                          Decl., ¶7-8, Ex. 72-73
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                                                                                            13
                                                                                                                                        Dilution
                                                                                            14
                                                                                                 40.     Defendant has not identified any       Objection/Disputed:
                                                                                            15
                                                                                                 evidence in its Counterclaims to support       EMPIRE objects to this statement on the
                                                                                            16
                                                                                                 its conclusory assertions that its marks       following grounds:
                                                                                            17
                                                                                                 are widely recognized by the general           (1) This is not a statement of material
                                                                                            18
                                                                                                 consuming public.                              fact as required by Local Rule 56-1 and
                                                                                            19
                                                                                                                                                this Court’s Scheduling Order dated July
                                                                                            20
                                                                                                                                                23, 2015 (Dkt. 23, p.3 ¶5).
                                                                                            21
                                                                                                                                                (2) Irrelevant.
                                                                                            22
                                                                                                                                                (3) Argumentative.
                                                                                            23
                                                                                                                                                (4) Lacks foundation.
                                                                                            24
                                                                                                                                                Subject to these objections, EMPIRE
                                                                                            25
                                                                                                                                                disputes this assertion as there is
                                                                                            26
                                                                                                                                                substantial evidence in EMPIRE’s
                                                                                            27
                                                                                                                                                Counterclaims that EMPIRE’s marks are
                                                                                            28
                                                                                                 27721652v2                                 - 35 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         FOX’S ALLEGED                              EMPIRE’S RESPONSE AND
                                                                                             2       UNCONTROVERTED FACTS                                 EVIDENCE
                                                                                             3                                                 widely recognized by the general
                                                                                             4                                                 consuming public.
                                                                                             5
                                                                                             6                                                      Fox’s Evidence:
                                                                                             7                                                          Defendant’s Counterclaims,
                                                                                             8                                                           attached to Lens Decl. as Ex. 4
                                                                                             9                                                           at pp. 47-71
                                                                                            10                                                      EMPIRE’s Evidence:
                                                                                            11                                                         EMPIRE’s Counterclaims,
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                                                               I R VI N E ,C A 92614-2545




                                                                                                                                                         Lens Decl., Ex. 4 at ¶¶9-19,
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                                                                                            13                                                           25-30.
                                                                                            14
                                                                                                 41.     Empire Distribution was formed        Undisputed but incomplete.
                                                                                            15
                                                                                                 in June 2011.                                 Foxcites to an allegation in its
                                                                                            16
                                                                                                                                               Complaint (Lens Decl., Ex. 2 at p. 11 ¶
                                                                                            17
                                                                                                                                               19) and EMPIRE’s Answer to the
                                                                                            18
                                                                                                                                               Complaint (Lens Decl., Ex. 3 at p. 37 ¶
                                                                                            19
                                                                                                                                               19) as evidence to support this statement
                                                                                            20
                                                                                                                                               but includes only a select excerpt from
                                                                                            21
                                                                                                                                               the allegation and fails to include the
                                                                                            22
                                                                                                                                               remainder of the allegation including the
                                                                                            23
                                                                                                                                               relevant portion stating that EMPIRE
                                                                                            24
                                                                                                                                               began using “‘Empire Distribution’
                                                                                            25
                                                                                                                                               and ‘Empire Recordings’in
                                                                                            26
                                                                                                                                               commerce [on] January 1, 2010.”
                                                                                            27
                                                                                            28
                                                                                                 27721652v2                                - 36 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1         EMPIRE’S STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                                                                                             2                OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                                                                                             3
                                                                                             4          EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                                          MATERIAL FACTS
                                                                                             5
                                                                                             6   42.     Continuously since at least as         Hobbs Decl., ¶4.
                                                                                             7   early as January 2010, EMPIRE has
                                                                                             8   used the mark “EMPIRE”alone and
                                                                                             9   with other words as marks to signify
                                                                                            10   services and products originating
                                                                                            11   uniquely from EMPIRE.
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                                                                                            12   43.     EMPIRE’s common law                    Hobbs Decl., ¶5.
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                                                                                            13   trademark rights in the “EMPIRE”mark
                                                                                            14   and variants date back to January, 2010.
                                                                                            15   44.     On January 24, 2014, EMPIRE            Hobbs Decl. ¶6, Ex. 1.
                                                                                            16   filed applications through counsel with
                                                                                            17   the USPTO for its “EMPIRE”marks and
                                                                                            18   received Serial Nos. 86174484 and
                                                                                            19   86174393 for such applications. (“First
                                                                                            20   Empire Applications”).
                                                                                            21   45.     On December 10, 2014, EMPIRE           Hobbs Decl. ¶7, Ex. 1.
                                                                                            22   filed applications through counsel for
                                                                                            23   the mark “EMPIRE Distribution”and
                                                                                            24   received Serial Nos. 86476822 and
                                                                                            25   86477123 for such applications.
                                                                                            26   (“Second Empire Applications”).
                                                                                            27   46.     On April 8, 2015, EMPIRE filed         Hobbs Decl. ¶8, Ex. 1.
                                                                                            28   applications through counsel for the
                                                                                                 27721652v2                                - 37 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                             EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   mark “EMPIRE”and received Serial
                                                                                             4   Nos. 86590365, 86590402, 86590415
                                                                                             5   and 86590385 for such applications.
                                                                                             6   (“Third Empire Applications”).
                                                                                             7
                                                                                                 47.     The EMPIRE Applications                   Hobbs Decl. ¶8, Ex. 1.
                                                                                             8
                                                                                                 include applications in International
                                                                                             9
                                                                                                 Trademark Classes 9 and 41.
                                                                                            10
                                                                                                 48.     Finding no conflicting prior              Hobbs Decl. ¶¶9-10, Ex. 1.
                                                                                            11
                                                                                                 applications or existing registrations and
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                                                               I R VI N E ,C A 92614-2545




                                                                                                 that the marks were entitled to
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                                                                                            13
                                                                                                 registration, the USPTO has approved
                                                                                            14
                                                                                                 five of the EMPIRE Applications, which
                                                                                            15
                                                                                                 will be publishing on January 19, 2016
                                                                                            16
                                                                                                 49.     EMPIRE’s application for Serial           Hobbs Decl. ¶12, Ex. 1.
                                                                                            17
                                                                                                 No. 86174393 for “EMPIRE”was filed
                                                                                            18
                                                                                                 January 24, 2014, nearly a year before
                                                                                            19
                                                                                                 Foxbroadcast the first episode of the
                                                                                            20
                                                                                                 television program “EMPIRE”on
                                                                                            21
                                                                                                 January 7, 2015.
                                                                                            22
                                                                                                 50.     The EMPIRE applications were              Hobbs Decl. ¶13.
                                                                                            23
                                                                                                 filed without claim to any particular font
                                                                                            24
                                                                                                 style, size, design or color and protect
                                                                                            25
                                                                                                 and permit use of the Empire marks
                                                                                            26
                                                                                                 regardless of the font style, design, size
                                                                                            27
                                                                                                 or color.
                                                                                            28
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                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                           EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   51.     Of the over “650 registered or          Hobbs Decl. ¶14.
                                                                                             4   pending applications for ‘empire’related
                                                                                             5   marks”(SUF ¶11), many of the
                                                                                             6   applications are for services unrelated to
                                                                                             7   the services and products provided by
                                                                                             8   Foxand EMPIRE under their marks.
                                                                                             9
                                                                                                 52.     Of the over “650 registered or          Hobbs Decl. ¶15.
                                                                                            10
                                                                                                 pending applications for ‘empire’related
                                                                                            11
                                                                                                 marks”(SUF ¶11), the supporting
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                                                                                                 marks for many of such applications or
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                                                                                            13
                                                                                                 registrations are no longer in use, the
                                                                                            14
                                                                                                 marks have been abandoned and they are
                                                                                            15
                                                                                                 therefore not entitled to trademark rights
                                                                                            16
                                                                                                 or protection.
                                                                                            17
                                                                                                 53.     Foxhas filed two trademark              Hobbs Decl. ¶16, Ex. 2.
                                                                                            18
                                                                                                 applications in the USPTO for the mark
                                                                                            19
                                                                                                 “Empire,”in International Trademark
                                                                                            20
                                                                                                 Classes 9 and 41, asserting trademark
                                                                                            21
                                                                                                 rights therein and seeking the benefits of
                                                                                            22
                                                                                                 U.S. federal trademark registrations.
                                                                                            23
                                                                                                 54.     Foxhas shown a pattern of filing        Hobbs Decl. ¶17, Ex. 3.
                                                                                            24
                                                                                                 trademark applications in the USPTO
                                                                                            25
                                                                                                 for the names of television programs that
                                                                                            26
                                                                                                 it broadcasts, asserting trademark rights
                                                                                            27
                                                                                                 therein and seeking the benefits of U.S.
                                                                                            28
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                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                           EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   federal trademark registrations.
                                                                                             4
                                                                                                 55.     Foxhas shown a pattern of filing        Hobbs Decl. ¶18, Ex. 4.
                                                                                             5
                                                                                                 trademark opposition and cancellation
                                                                                             6
                                                                                                 actions before the Trademark Trial and
                                                                                             7
                                                                                                 Appeal Board (“TTAB”) of the USPTO
                                                                                             8
                                                                                                 arising out of the names of programs
                                                                                             9
                                                                                                 that it broadcasts, asserting trademark
                                                                                            10
                                                                                                 rights therein and seeking the benefits of
                                                                                            11
                                                                                                 U.S. trademark rights in the names of its
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                                                               I R VI N E ,C A 92614-2545




                                                                                                 television programs.
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                                                                                            13
                                                                                                 56.     Since January 2010, EMPIRE has          Shami Decl., ¶¶6-21
                                                                                            14
                                                                                                 established itself as a leading record
                                                                                            15
                                                                                                 label and music distribution company
                                                                                            16
                                                                                                 for urban music, including hip-hop, rap,
                                                                                            17
                                                                                                 and R&B in the United States, releasing
                                                                                            18
                                                                                                 over 11,000 albums/singles, 6,000 music
                                                                                            19
                                                                                                 videos and 85,000 songs.
                                                                                            20
                                                                                                 57.     EMPIRE has worked with an               Shami Decl., ¶¶7, 9-19
                                                                                            21
                                                                                                 extensive list of well-known hip hop,
                                                                                            22
                                                                                                 rap, and R&B musical artists in the
                                                                                            23
                                                                                                 world, including but not limited to, T.I.,
                                                                                            24
                                                                                                 Snoop Dogg, Kendrick Lamar, Trinidad
                                                                                            25
                                                                                                 James, Too $hort, The Game, Mally
                                                                                            26
                                                                                                 Mall, Rich Homie Quan, Tyga, Shaggy,
                                                                                            27
                                                                                                 Migos, Busta Rhymes, Fat Joe, Sage the
                                                                                            28
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                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   Gemini, Cam’ron, Jim Jones, Rocko,
                                                                                             4   Gladys Knight, Rae Sremmurd, and
                                                                                             5   many more.
                                                                                             6
                                                                                                 58.     EMPIRE helped launch the               Shami Decl., ¶8
                                                                                             7
                                                                                                 careers of a number of rap and hip hop
                                                                                             8
                                                                                                 hit-makers including, for example,
                                                                                             9
                                                                                                 Grammy Award winning, multi-
                                                                                            10
                                                                                                 platinum recording artist, Kendrick
                                                                                            11
                                                                                                 Lamar.
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                                                                                                 59.     EMPIRE released eleven of the          Shami Decl., ¶20
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                                                                                            13
                                                                                                 top one hundred hip-hop songs of 2015
                                                                                            14
                                                                                                 listed by Spotify (a commercial music
                                                                                            15
                                                                                                 streaming service with over 75 million
                                                                                            16
                                                                                                 active users) including the number one
                                                                                            17
                                                                                                 song, “Flex”by Rich Homie Quan.
                                                                                            18
                                                                                                 60.     EMPIRE has four albums on              Shami Decl., ¶20
                                                                                            19
                                                                                                 Rolling Stone’s list of the 40 Best Rap
                                                                                            20
                                                                                                 Albums of 2015, four tracks in
                                                                                            21
                                                                                                 Pitchfork’s Best Songs of 2015, and
                                                                                            22
                                                                                                 three artists in Pigeons & Planes’New
                                                                                            23
                                                                                                 Artists for 2016 list.
                                                                                            24
                                                                                                 61.     What began as EMPIRE                   Shami Decl., ¶¶22-29
                                                                                            25
                                                                                                 Distribution in 2010 has grown into a
                                                                                            26
                                                                                                 full-service music company under the
                                                                                            27
                                                                                                 umbrella brand name “EMPIRE,”which
                                                                                            28
                                                                                                 27721652v2                                - 41 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
                                                                                                                    OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                             EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   includes “EMPIRE Distribution”
                                                                                             4   (distribution services), “EMPIRE
                                                                                             5   Recordings”(recording and label), and
                                                                                             6   “EMPIRE Publishing”(publishing
                                                                                             7   services).
                                                                                             8
                                                                                                 62.     EMPIRE has been using                     Shami Decl., ¶31
                                                                                             9
                                                                                                 “EMPIRE”as a standalone trademark in
                                                                                            10
                                                                                                 association with its music business
                                                                                            11
                                                                                                 continuously since at least as early as
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                                                                                                 January 2010.
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                                                                                            13
                                                                                                 63.     EMPIRE has used the primary               Shami Decl., ¶31
                                                                                            14
                                                                                                 branding “EMPIRE”sometimes in
                                                                                            15
                                                                                                 association with other words such as
                                                                                            16
                                                                                                 “Distribution”and “Recordings,”to
                                                                                            17
                                                                                                 identify the services that EMPIRE
                                                                                            18
                                                                                                 provides and the products associated
                                                                                            19
                                                                                                 with those services under the umbrella
                                                                                            20
                                                                                                 EMPIRE brand.
                                                                                            21
                                                                                                 64.     Prior to the first airing of Fox’s        Shami Decl., ¶34
                                                                                            22
                                                                                                 “Empire”television series, EMPIRE had
                                                                                            23
                                                                                                 sixpending trademark applications.
                                                                                            24
                                                                                                 65.     By April of 2015, EMPIRE had              Shami Decl., ¶34
                                                                                            25
                                                                                                 an additional four pending trademark
                                                                                            26
                                                                                                 applications.
                                                                                            27
                                                                                                 66.     Five of these ten trademark               Shami Decl., ¶34
                                                                                            28
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                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                           EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   applications –three for EMPIRE and
                                                                                             4   two for EMPIRE DISTRIBUTION –are
                                                                                             5   expected to be published by the United
                                                                                             6   States Patent and Trademark Office in
                                                                                             7   January 2016.
                                                                                             8
                                                                                                 67.     EMPIRE’s brand is represented in        Shami Decl., ¶¶35, 36
                                                                                             9
                                                                                                 the marketplace in several ways,
                                                                                            10
                                                                                                 including, but not limited to, the logos
                                                                                            11
                                                                                                 depicted in paragraph 35 of the
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                                                                                                 declaration of Ghazi Shami.
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                                                                                            13
                                                                                                 68.     Advertising and publicity               Shami Decl., ¶37
                                                                                            14
                                                                                                 campaigns began immediately on
                                                                                            15
                                                                                                 EMPIRE’s launch in 2010 and increased
                                                                                            16
                                                                                                 markedly beginning in late 2013 and
                                                                                            17
                                                                                                 early 2014.
                                                                                            18
                                                                                                 69.     EMPIRE spent approximately              Shami Decl., ¶37
                                                                                            19
                                                                                                 $650,000 in 2014 in marketing,
                                                                                            20
                                                                                                 advertising, and promotion and
                                                                                            21
                                                                                                 approximately $2.5 million in 2015 on
                                                                                            22
                                                                                                 advertising, marketing, and promotional
                                                                                            23
                                                                                                 expenses.
                                                                                            24
                                                                                                 70.     The EMPIRE logo is used in a            Shami Decl., ¶¶38-40
                                                                                            25
                                                                                                 variety of advertising and promotional
                                                                                            26
                                                                                                 contexts including, for example, iTunes
                                                                                            27
                                                                                                 CD covers, billboards, concerts, and
                                                                                            28
                                                                                                 27721652v2                                 - 43 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   promotional items.
                                                                                             4
                                                                                                 71.     EMPIRE is a well known, highly         Shami Decl., ¶¶35-61;McDaniels
                                                                                             5
                                                                                                 respected and influential record label         Decl. ¶¶4-8;Douthit Decl. ¶¶11-14;
                                                                                             6
                                                                                                 and music distribution company.                Julien Decl. ¶¶7-11
                                                                                             7
                                                                                                 72.     EMPIRE has sold millions of            Shami Decl., ¶44
                                                                                             8
                                                                                                 songs distributed or recorded under the
                                                                                             9
                                                                                                 EMPIRE marks.
                                                                                            10
                                                                                                 73.     Record labels, including               Bowler Decl., ¶8, Ex. 73 (Expert
                                                                                            11
                                                                                                 EMPIRE, are important to consumers in          Report of Dr. Kristen J. Lieb) at ¶3, 12-
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                                                               I R VI N E ,C A 92614-2545




                                                                                                 the urban music genre.                         22, 46;McDaniels Decl. ¶¶9-14;
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                                                                                            13
                                                                                                                                                Douthit Decl. ¶¶7-10;Julien Decl. ¶¶
                                                                                            14
                                                                                                                                                12-21;Shami Decl., ¶¶62-83
                                                                                            15
                                                                                                 74.     EMPIRE’s reputation is being           Shami Decl., ¶¶90, 93
                                                                                            16
                                                                                                 seriously damaged by Fox’s
                                                                                            17
                                                                                                 unauthorized use of the “Empire”name
                                                                                            18
                                                                                                 for the Empire Series and Empire Series
                                                                                            19
                                                                                                 Music.
                                                                                            20
                                                                                                 75.     EMPIRE and Foxare competing            Shami Decl., ¶¶95-113
                                                                                            21
                                                                                                 for the sale of the same type of music to
                                                                                            22
                                                                                                 the same customers in the same places.
                                                                                            23
                                                                                                 76.     Fox’s Empire marks are nearly          Shami Decl., ¶¶35, 96;Ryan Decl., ¶6
                                                                                            24
                                                                                                 identical to EMPIRE’s marks.
                                                                                            25
                                                                                                 77.     Given their overlapping                Shami Decl., ¶¶84, 92, 93, 94, 100,
                                                                                            26
                                                                                                 businesses, there is likely to be              114;McDaniels Decl. ¶¶15-17;
                                                                                            27
                                                                                                 consumer confusing between EMPIRE,             Douthit Decl. ¶¶14;Julien Decl. ¶¶22-
                                                                                            28
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                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                            EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   on the one hand, and Fox’s Empire               26;Simon Decl. ¶¶2-3
                                                                                             4   television series and music, on the other
                                                                                             5   hand.
                                                                                             6
                                                                                                 78.     There have been many instances          Shami Decl., ¶¶115-135, Exs. 8-24;
                                                                                             7
                                                                                                 of actual confusion expressed by artists        Simon Decl. ¶¶2-3;McDaniels Decl.
                                                                                             8
                                                                                                 and consumers between EMPIRE, on the            ¶¶15-17;Douthit Decl. ¶¶14;Julien
                                                                                             9
                                                                                                 one hand, and Fox’s Empire television           Decl. ¶¶22-26
                                                                                            10
                                                                                                 series and music, on the other hand.
                                                                                            11
                                                                                                 79.     There are consumers and artists         McDaniels Decl. ¶¶15-17;Douthit
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                                                               I R VI N E ,C A 92614-2545




                                                                                                 who have expressed confusion as to              Decl. ¶¶14;Julien Decl. ¶¶22-26;
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                                                                                            13
                                                                                                 whether the products bearing EMPIRE’s           Shami Decl., ¶¶84, 92, 93, 94, 100,
                                                                                            14
                                                                                                 marks were sponsored or approved by             114115-135, Exs. 8-24;Simon Decl. ¶¶
                                                                                            15
                                                                                                 Foxor the Empi
                                                                                                              re television series.              2-3
                                                                                            16
                                                                                                 80.     There are consumers and artists         McDaniels Decl. ¶¶15-17;Douthit
                                                                                            17
                                                                                                 who have expressed confusion as to              Decl. ¶¶14;Julien Decl. ¶¶22-26;
                                                                                            18
                                                                                                 whether the Empi
                                                                                                                re series and the                Shami Decl., ¶¶84, 92, 93, 94, 100,
                                                                                            19
                                                                                                 Empire series related products were             114115-135, Exs. 8-24;Simon Decl. ¶¶
                                                                                            20
                                                                                                 sponsored or approved by EMPIRE.                2-3
                                                                                            21
                                                                                                 81.     Numerous consumers, artists, and       McDaniels Decl. ¶¶15-17;Douthit
                                                                                            22
                                                                                                 EMPIRE’s business partners have                Decl. ¶¶14;Julien Decl. ¶¶22-26;
                                                                                            23
                                                                                                 expressed confusion to EMPIRE as to            Shami Decl., ¶¶84, 92, 93, 94, 100,
                                                                                            24
                                                                                                 whether the fictional “Empire”program          114115-135, Exs. 8-24;Simon Decl. ¶¶
                                                                                            25
                                                                                                 has any affiliation or business                2-3
                                                                                            26
                                                                                                 relationship with the real-life EMPIRE.
                                                                                            27
                                                                                                 82.     Foxhas used the “Empire”name           Bywater Decl. ¶3;Ross Decl. ¶2;
                                                                                            28
                                                                                                 27721652v2                                 - 45 -
                                                                                                       EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   as a source-identifier outside of the         Bowler Decl., ¶4, Ex. 69 at 22:3-5,
                                                                                             4   construct of the Empire series.               22:10-18, 22:25-23:1, 23:4-6;23:8-9,
                                                                                             5                                                 23:14-24:4;24:8-25:7, 25:11-23, 32:23-
                                                                                             6                                                 33:10, 33:14-15, 33:21-34:5, 34:9-10,
                                                                                             7                                                 34:13-14, 34:16-22, 37:22-23, 38:2-10,
                                                                                             8                                                 38:25-39:5, 39:7-13, 39:18-22;59:4-7,
                                                                                             9                                                 66:24-67:5, 67:8-21, 70:2-17, 70:21,
                                                                                            10                                                 85:3-10, 85:14-17, 130:15-17, 130:20-
                                                                                            11                                                 22, 131:4-6;132:2-5, 132:14-17,
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                                                                                                                                               132:20-24, 133:2-5, 133:9-13, 133:15-
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                                                                                            13                                                 16, 133:20, 133:24-134:1, 134:9-10,
                                                                                            14                                                 134:13-17, 134:20-137:11, 138:8-14,
                                                                                            15                                                 138:17-24;139:20-140:11;140:20-
                                                                                            16                                                 141:2;142:19-143:4;143:15-20;144:8-
                                                                                            17                                                 17, 145:2-12, 158:5-8, 158:11-21,
                                                                                            18                                                 163:1-3, 163:10-164:1, 164:5-7, 164:11-
                                                                                            19                                                 164:24, 165:15-16, 165:19-21, 167:3-4,
                                                                                            20                                                 167:7, 208:3-6;209:15-24, 210:4-5,
                                                                                            21                                                 210:8-1;Bywater Exs. 3, 4, 10, 11, 12,
                                                                                            22                                                 13, 30.
                                                                                            23
                                                                                                 83.      Empire has been involved in           Shami Decl. ¶¶136-141
                                                                                            24
                                                                                                 network television programming and
                                                                                            25
                                                                                                 intends to continue using television-
                                                                                            26
                                                                                                 based media to promote and grow its
                                                                                            27
                                                                                                 brand.
                                                                                            28
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                            EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   84.     Fox’s purported survey expert,          Bowler Decl., ¶6, Ex. 71 (Johnson
                                                                                             4   Philip Johnson, conducted a survey              Deposition Transcript) at 20:2-10..
                                                                                             5   purporting to measure the extent of
                                                                                             6   “reverse confusion”between the
                                                                                             7   Empire’s marks and the Empi
                                                                                                                           re series
                                                                                             8   and Empi
                                                                                                        re series music.
                                                                                             9
                                                                                                 85.     Fox’s purported survey expert,          Lens Decl., ¶11, Ex. 8.
                                                                                            10
                                                                                                 Deborah Jay, conducted a survey
                                                                                            11
                                                                                                 purporting to measure the extent of
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                                                                                                 “forward confusion”between the
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                                                                                            13
                                                                                                 Empire’s marks and the Empi
                                                                                                                           re series
                                                                                            14
                                                                                                 and Empi
                                                                                                        re series music.
                                                                                            15
                                                                                                 86.     The survey conducted by Philip          Bowler Decl., ¶7, Ex. 72 (Expert
                                                                                            16
                                                                                                 Johnson does not provide a valid                Report of Dr. Joel H. Steckel) at p.9,
                                                                                            17
                                                                                                 scientific basis for measuring the extent       ¶21
                                                                                            18
                                                                                                 of reverse confusion in this matter.
                                                                                            19
                                                                                                 87.     Philip Johnson’s choice of stimuli      Bowler Decl., ¶7, Ex. 72 (Expert
                                                                                            20
                                                                                                 inhibited respondents from linking the          Report of Dr. Joel H. Steckel) at p.9,
                                                                                            21
                                                                                                 stimuli with Empire.                            ¶21
                                                                                            22
                                                                                                 88.     Philip Johnson’s survey question        Bowler Decl., ¶7, Ex. 72 (Expert
                                                                                            23
                                                                                                 wording minimized the possibility of            Report of Dr. Joel H. Steckel) at p.9,
                                                                                            24
                                                                                                 respondents linking the stimuli with            ¶21
                                                                                            25
                                                                                                 Empire.
                                                                                            26
                                                                                                 89.     Philip Johnson’s survey did not         Bowler Decl., ¶6, Ex. 71 at 21:11-14,
                                                                                            27
                                                                                                 measure confusion among consumers               21:16-21, 21:23-22:3, 22:5-18.
                                                                                            28
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                           EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3   who have encountered both parties’
                                                                                             4   marks.
                                                                                             5
                                                                                                 90.     Deborah Jay’s survey results do        Bowler Decl., ¶7, Ex. 72 (Expert
                                                                                             6
                                                                                                 not generalize beyond the situation            Report of Dr. Joel H. Steckel) at p.9,
                                                                                             7
                                                                                                 where a consumer is watching a                 ¶22
                                                                                             8
                                                                                                 television trailer or commercial.
                                                                                             9
                                                                                                 91.     In particular, Deborah Jay’s           Bowler Decl., ¶7, Ex. 72 (Expert
                                                                                            10
                                                                                                 survey results could not be generalized        Report of Dr. Joel H. Steckel) at p.9,
                                                                                            11
                                                                                                 to a situation when a consumer searches        ¶22
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                                                                                                 for the Empire television show or its
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                                                                                            13
                                                                                                 soundtrack or hip hop music generally
                                                                                            14
                                                                                                 on a platform like iTunes or Google Play
                                                                                            15
                                                                                                 or Google search engine.
                                                                                            16
                                                                                                 92.     Deborah Jay’s survey cannot be         Bowler Decl., ¶7, Ex. 72 (Expert
                                                                                            17
                                                                                                 used to measure confusion amongst the          Report of Dr. Joel H. Steckel) at p.9,
                                                                                            18
                                                                                                 subset of consumers who participate in         ¶22
                                                                                            19
                                                                                                 the activities mentioned above.
                                                                                            20
                                                                                                 93.     Deborah Jay’s survey did not           Bowler Decl., ¶5, Ex. 70 (Jay
                                                                                            21
                                                                                                 account for the Empire Series Music.           Deposition Transcript) at 20:2-3, 20:6-
                                                                                            22
                                                                                                                                                11, 20:16-21:18, 21:23, 21:25-22:15,
                                                                                            23
                                                                                                                                                22:19-23:4.
                                                                                            24
                                                                                                 94.     Record labels are important to         Bowler Decl., ¶8, Ex. 73 (Expert
                                                                                            25
                                                                                                 consumers of rap, hip hop, and R&B             Report of Dr. Kristen J. Lieb) at ¶3, 12-
                                                                                            26
                                                                                                 music.                                         22, 46;McDaniels Decl. ¶¶9-14;
                                                                                            27
                                                                                                                                                Douthit Decl. ¶¶7-10;Julien Decl. ¶¶
                                                                                            28
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                                                                                             1
                                                                                                        EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2            MATERIAL FACTS
                                                                                             3                                                  12-21;Shami Decl., ¶¶62-83
                                                                                             4
                                                                                                 95.     EMPIRE is a well-known and             Shami Decl., ¶¶6-21, 35-61;Bowler
                                                                                             5
                                                                                                 respected label in the rap and hip hop         Decl., ¶8, Ex. 73 (Expert Report of Dr.
                                                                                             6
                                                                                                 music genre/space.                             Kristen J. Lieb) at ¶3, 24-33, 47;
                                                                                             7
                                                                                                                                                McDaniels Decl. ¶¶4-8;Douthit Decl.
                                                                                             8
                                                                                                                                                ¶¶11-14;Julien Decl. ¶¶7-11;
                                                                                             9
                                                                                                                                                McDaniels Decl. ¶¶4-8;Douthit Decl.
                                                                                            10
                                                                                                                                                ¶¶11-14;Julien Decl. ¶¶7-11
                                                                                            11
                                                                                                 96.     EMPIRE receives significant            Bowler Decl., ¶3, Exs. 42-68.
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                                                                                                 press in industry and national
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                                                                                            13
                                                                                                 publications.
                                                                                            14
                                                                                                 97.     Some consumers are likely to be        Bowler Decl., ¶8, Ex. 73 (Expert
                                                                                            15
                                                                                                 confused regarding the affiliation             Report of Dr. Kristen J. Lieb) at ¶3, 34-
                                                                                            16
                                                                                                 between EMPIRE’s use of the brand or           45, 48;McDaniels Decl. ¶¶15-17;
                                                                                            17
                                                                                                 term “Empire”and Fox’s use of the term         Douthit Decl. ¶¶14;Julien Decl. ¶¶22-
                                                                                            18
                                                                                                 “Empire”in connection with the Empire          26;Shami Decl., ¶¶84, 92, 93, 94, 100,
                                                                                            19
                                                                                                 television series and sales of the Empi
                                                                                                                                       re       114;Simon Decl. ¶¶2-3
                                                                                            20
                                                                                                 series music.
                                                                                            21
                                                                                                 98.     On July 31, 2015, Foxserved its        Villar Decl. ¶2, Ex. 25
                                                                                            22
                                                                                                 Initial Disclosures pursuant to Fed. R.
                                                                                            23
                                                                                                 Civ. P. 26(a)(1) identifying only six
                                                                                            24
                                                                                                 individuals including: Geoff Bywater
                                                                                            25
                                                                                                 (SVP, Television Music);Jeremy
                                                                                            26
                                                                                                 Kaufman (VP, Intellectual Property, Fox
                                                                                            27
                                                                                                 Group Legal);Vibiana Molina (SVP,
                                                                                            28
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                             EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    Business Affairs);Shannon Ryan (EVP,
                                                                                             4    Marketing and Communications);Mei-
                                                                                             5    lan Stark (SVP, Intellectual Property,
                                                                                             6    FoxGroup Legal);and Michael Thorn
                                                                                             7    (EVP, Development).
                                                                                             8
                                                                                                  99.     Shannon Ryan, whom Foxhas not          Bowler Decl., ¶4, Ex. 69 at 32:12-22.
                                                                                             9
                                                                                                  made available for deposition, has
                                                                                            10
                                                                                                  significant relevant knowledge regarding
                                                                                            11
                                                                                                  Empire Series Music marketing and
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                                                                                                  promotional efforts.
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                                                                                            13
                                                                                                 100.     Foxhas not yet produced a              Bowler Decl., ¶4, Ex. 69 at 45:23-47:1,
                                                                                            14
                                                                                                  witness on the selection of the name           47:4.
                                                                                            15
                                                                                                  “Empire”for the Empi
                                                                                                                     re Series.
                                                                                            16
                                                                                                 101.     Foxhas not yet produced a              Bowler Decl., ¶4, Ex. 69 at 49:13-15,
                                                                                            17
                                                                                                  witness on whether Foxconducted                49:19.
                                                                                            18
                                                                                                  trademark searches prior to adopting the
                                                                                            19
                                                                                                  name “Empire.”
                                                                                            20
                                                                                                 102.     Foxhas not yet provided a              Bowler Decl., ¶4, Ex. 69 at 150:3-9.
                                                                                            21
                                                                                                  witness with knowledge of Fox’s
                                                                                            22
                                                                                                  marketing spend on Empi
                                                                                                                        re Series
                                                                                            23
                                                                                                  Music.
                                                                                            24
                                                                                                 103.     Foxhas not produced the witness        Bowler Decl., ¶4, Ex. 69 at 165:23-
                                                                                            25
                                                                                                  most knowledgeable regarding sales data        166:5, 166:11-15.
                                                                                            26
                                                                                                  for the Empire Series Music.
                                                                                            27
                                                                                                 104.     There were many other                  Villar Decl. ¶3
                                                                                            28
                                                                                                  27721652v2                                - 50 -
                                                                                                        EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    individuals known to Foxwho have
                                                                                             4    discoverable information who were not
                                                                                             5    identified in Fox’s Initial Disclosures
                                                                                             6    including, for example, the creators and
                                                                                             7    executive producers of the Empire
                                                                                             8    series, Daniel Strong and Lee Daniels,
                                                                                             9    and other employees of Foxand
                                                                                            10    Columbia Records who release music
                                                                                            11    from the Empi
                                                                                                              re series.
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                                                                                                 105.     Foxfiled seven declarations in         Villar Decl. ¶3
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                                                                                            13
                                                                                                  support of its Motion for Summary
                                                                                            14
                                                                                                  Judgment, five of which are purported
                                                                                            15
                                                                                                  percipient witnesses (Melissa Blazek,
                                                                                            16
                                                                                                  Geoff Bywater, Tracey Raftery, Andrew
                                                                                            17
                                                                                                  Ross, and Shannon Ryan) and two of
                                                                                            18
                                                                                                  which are Fox’s attorneys of record,
                                                                                            19
                                                                                                  Molly Lens and Farrah Reynolds of
                                                                                            20
                                                                                                  O’Melveny & Myers LLP.
                                                                                            21
                                                                                                 106.     Three of the five (60%) percipient     Villar Decl. ¶3
                                                                                            22
                                                                                                  witnesses (Melissa Blazek, Tracey
                                                                                            23
                                                                                                  Raftery, and Andrew Ross) who
                                                                                            24
                                                                                                  submitted declarations in support of
                                                                                            25
                                                                                                  Fox’s Motion for Summary Judgment
                                                                                            26
                                                                                                  were not di
                                                                                                            sclosed in Fox’s Initial
                                                                                            27
                                                                                                  Disclosures Pursuant to Fed. R. Civ. P.
                                                                                            28
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                                                                                                        EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                           EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    26(a)(1).
                                                                                             4
                                                                                                 107.      As of the date EMPIRE’s                Villar Decl. ¶4
                                                                                             5
                                                                                                  opposition was due, Foxhad not
                                                                                             6
                                                                                                  amended or supplemented its Initial
                                                                                             7
                                                                                                  Disclosures pursuant to Fed. R. Civ. P.
                                                                                             8
                                                                                                  26(e).
                                                                                             9
                                                                                                 108.      Despite serving a First Request        Villar Decl. ¶7
                                                                                            10
                                                                                                  for Production of Documents on July 17,
                                                                                            11
                                                                                                  2015, Foxdid not make its initial
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                                                                                                  production documents until on or about
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                                                                                            13
                                                                                                  December 7, 2015, nearly five months
                                                                                            14
                                                                                                  later and just 9 days before filing its
                                                                                            15
                                                                                                  Motion for Summary Judgment.
                                                                                            16
                                                                                                 109.      Despite serving numerous               Villar Decl. ¶11
                                                                                            17
                                                                                                  subpoenas on August 11, 2015, and
                                                                                            18
                                                                                                  reaching agreement on the scope of
                                                                                            19
                                                                                                  production with Fox’s counsel regarding
                                                                                            20
                                                                                                  FoxMusic in October 2015 and
                                                                                            21
                                                                                                  regarding Lee Daniels and Daniel Strong
                                                                                            22
                                                                                                  in November 2015, these witnesses have
                                                                                            23
                                                                                                  not produced a single document
                                                                                            24
                                                                                                  responsive to the subpoenas as of the
                                                                                            25
                                                                                                  date EMPIRE’s opposition was due.
                                                                                            26
                                                                                                 110.      As of the date EMPIRE’s                Villar Decl. ¶20
                                                                                            27
                                                                                                  opposition was due, Foxhas only made
                                                                                            28
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                                                                                                        EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    one percipient witness, Geoff Bywater,
                                                                                             4    available for deposition.
                                                                                             5
                                                                                                 111.     As of the date EMPIRE’s                Villar Decl. ¶25
                                                                                             6
                                                                                                  opposition was due, Foxhad not
                                                                                             7
                                                                                                  provided any confirmed dates for the
                                                                                             8
                                                                                                  depositions of expert witnesses Ted
                                                                                             9
                                                                                                  Cohen and Erich Joachimsthaler.
                                                                                            10
                                                                                                 112.     EMPIRE is unable to present facts      Villar Decl. ¶¶2-34
                                                                                            11
                                                                                                  essential to oppose Fox’s Motion for
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                                                                                                  Summary Judgment because the
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                                                                                            13
                                                                                                  depositions, documents and other
                                                                                            14
                                                                                                  discovery that EMPIRE has requested
                                                                                            15
                                                                                                  from Foxis directed at issues raised by
                                                                                            16
                                                                                                  Foxin its Motion including, but not
                                                                                            17
                                                                                                  limited to, the origin and Fox’s selection
                                                                                            18
                                                                                                  of the Empire name;Fox’s knowledge of
                                                                                            19
                                                                                                  the EMPIRE marks (including Fox’s
                                                                                            20
                                                                                                  trademark searches relating to the
                                                                                            21
                                                                                                  EMPIRE marks);Fox’s marketing
                                                                                            22
                                                                                                  expenses and promotional efforts
                                                                                            23
                                                                                                  relating to the Empire series and Empi
                                                                                                                                       re
                                                                                            24
                                                                                                  series music;sales data for the Empi
                                                                                                                                     re
                                                                                            25
                                                                                                  series music;the strength of the remarks
                                                                                            26
                                                                                                  at issue;the proximity of the goods;the
                                                                                            27
                                                                                                  similarity of the marks;the evidence of
                                                                                            28
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                                                                                                        EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                            EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    actual and likely confusion;the
                                                                                             4    marketing channels used;the type of
                                                                                             5    goods and the degree of care likely to be
                                                                                             6    exercised by the purchaser;Fox’s intent
                                                                                             7    in selecting the mark;and the likelihood
                                                                                             8    of expansion of the product lines.
                                                                                             9
                                                                                                 113.     Foxonce owned a record label,            Bowler Decl., ¶4, Ex. 69 (Bywater
                                                                                            10
                                                                                                  FoxRecords, but it did not succeed               Deposition Transcript) at 15:22, 16:3-7.
                                                                                            11
                                                                                                  because it was not “set up properly.”
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                                                                                                 114.     Music has been a focus of Fox’s          Bowler Decl., ¶4, Ex. 69 at 15:8-17:2,
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                                                                                            13
                                                                                                  business for years;for example, Geoff            17:6-19:9, 19:11-19:24, 20:2-5, 21:16-
                                                                                            14
                                                                                                  Bywater rose through the ranks at Foxto          22:2..
                                                                                            15
                                                                                                  become Head of Music by working in
                                                                                            16
                                                                                                  Fox’s dedicated music department for
                                                                                            17
                                                                                                  film and television.
                                                                                            18
                                                                                                 115.     Music became such a major part           Bowler Decl., ¶4, Ex. 69 at 18:22-19:9,
                                                                                            19
                                                                                                  of Fox’s television business that Fox            19:11-17/
                                                                                            20
                                                                                                  created a television music department
                                                                                            21
                                                                                                  separate from film.
                                                                                            22
                                                                                                 116.     Fox, like any major record label,        Bowler Decl., ¶4, Ex. 69 at 22:3-5,
                                                                                            23
                                                                                                  signs musical artists to extensive music         22:10-18, 22:25-23:1, 23:4-6;23:8-9,
                                                                                            24
                                                                                                  contracts, including exclusive “360              23:14-24:4;24:8-25:7, 25:11-23;
                                                                                            25
                                                                                                  deals”which cover recording,                     130:15-17, 130:20-22, 131:4-6;132:2-
                                                                                            26
                                                                                                  publishing, merchandising, name and              5, 132:14-17, 132:20-24, 133:2-5,
                                                                                            27
                                                                                                  likeness rights, live concert touring            133:9-13, 133:15-16, 133:20, 133:24-
                                                                                            28
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                                                                                                        EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                           EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    rights, etc.                                   134:1, 134:9-10, 134:13-17, 134:20-
                                                                                             4                                                   137:11;Bywater Exs. 10, 11
                                                                                             5
                                                                                                 117.     Foxenters into contractual             Bowler Decl., ¶4, Ex. 69 at 138:8-14,
                                                                                             6
                                                                                                  agreements that record labels                  138:17-24;139:20-140:11;140:20-
                                                                                             7
                                                                                                  traditionally enter into, including at least   141:2;142:19-143:4;143:15-20;144:8-
                                                                                             8
                                                                                                  artist agreements, label waiver                17, 145:2-12;Bywater Exs. 10, 11, 12,
                                                                                             9
                                                                                                  agreements, songwriter agreements,             13.
                                                                                            10
                                                                                                  publishing agreements, composer
                                                                                            11
                                                                                                  agreements, licensing agreements, and
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                                                                                                  remixer agreements, for the creation of
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                                                                                            13
                                                                                                  Empire Series Music.
                                                                                            14
                                                                                                 118.     Foxis “develop[ing] talent”like a      Bowler Decl., ¶4, Ex. 69 at 24:14-25:5.
                                                                                            15
                                                                                                  record label and cannot afford to “have
                                                                                            16
                                                                                                  them go someplace else,”and therefore
                                                                                            17
                                                                                                  requires its artists to sign extensive,
                                                                                            18
                                                                                                  exclusive music contracts with Fox.
                                                                                            19
                                                                                                 119.     Foxuses Empire to launch solo          Bowler Decl., ¶4, Ex. 69 at 70:23-71:4,
                                                                                            20
                                                                                                  careers for its artists.                       71:8-17, 71:20.
                                                                                            21
                                                                                                 120.     Like a record label, Foxis seeking     Bowler Decl., ¶4, Ex. 69 at 126:14-
                                                                                            22
                                                                                                  to locate and retain unknown musical           127:18, 127:25-128:4, 128:12-129:15.
                                                                                            23
                                                                                                  artist talent.
                                                                                            24
                                                                                                 121.     Foxentities, known collectively        Bowler Decl., ¶4, Ex. 69 at 26:12-15,
                                                                                            25
                                                                                                  as “Fox,”own the rights to the Empire          26:18-25, 27:4-8, 27:11, 27:16-21,
                                                                                            26
                                                                                                  Series and the Empi
                                                                                                                    re Series Music.             27:25-5;100:11-14, 100:17-21.
                                                                                            27
                                                                                                 122.     Fox’s Empire Series Music team         Bowler Decl., ¶4, Ex. 69 at 32:2-11.
                                                                                            28
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    collaborates with FoxBroadcasting
                                                                                             4    Company to market Empire Series
                                                                                             5    Music through appearances on TV, and
                                                                                             6    by providing music to content providers
                                                                                             7    on a regular basis for radio and online
                                                                                             8    advertising.
                                                                                             9
                                                                                                 123.     Foxmaintains a merchandising           Bowler Decl., ¶4, Ex. 69 at 32:23-
                                                                                            10
                                                                                                  business unit that is responsible for          33:10, 33:14-15, 33:21-34:5.
                                                                                            11
                                                                                                  creating “Empire”branded merchandise,
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                                                                                                  which consists of promotional items.
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                                                                                            13
                                                                                                 124.     The music model for Fox’s              Bowler Decl., ¶4, Ex. 69 at 34:9-10,
                                                                                            14
                                                                                                  massively popular musical television           34:13-14.
                                                                                            15
                                                                                                  show “GLEE”is similar to the music
                                                                                            16
                                                                                                  model for Empire, and served as the
                                                                                            17
                                                                                                  “prototype”for Empi
                                                                                                                    re.
                                                                                            18
                                                                                                 125.     “GLEE”demonstrated the                 Bowler Decl., ¶4, Ex. 69 at 34:16-22.
                                                                                            19
                                                                                                  significant business potential associated
                                                                                            20
                                                                                                  with using music on television.
                                                                                            21
                                                                                                 126.     Foxpartners with Columbia              Bowler Decl., ¶4, Ex. 69 at 34:23-35:1,
                                                                                            22
                                                                                                  Records to release music for “GLEE”            35:8-9, 35:12.
                                                                                            23
                                                                                                  and Empi
                                                                                                         re.
                                                                                            24
                                                                                                 127.     Unlike “GLEE,”Empire creates           Bowler Decl., ¶4, Ex. 69 at 36:6-11;
                                                                                            25
                                                                                                  almost all original music geared toward        36:24-25;37:3-7, 50:5, 50:8-9, 51:10-
                                                                                            26
                                                                                                  the urban music genres.                        11, 51:16-52:1.
                                                                                            27
                                                                                                 128.     Empire Series Music was                Bowler Decl., ¶4, Ex. 69 at 36:12-23.
                                                                                            28
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    designed fill a gap in the marketplace,
                                                                                             4    and has therefore significantly
                                                                                             5    contributed to Empi
                                                                                                                    re’s success.
                                                                                             6
                                                                                                 129.     The Empi
                                                                                                                 re Series and Empi
                                                                                                                                  re             Bowler Decl., ¶4, Ex. 69 at 54:8-22,
                                                                                             7
                                                                                                  Series Music is targeted toward African        54:25-55:9, 55:13-15, 55:24-56:1, 56:5-
                                                                                             8
                                                                                                  Americans and over-performs in larger          8;106:11-24.
                                                                                             9
                                                                                                  urban markets.
                                                                                            10
                                                                                                 130.     The Empi
                                                                                                                 re Series Music concept         Bowler Decl., ¶4, Ex. 69 at 40:16-41:7,
                                                                                            11
                                                                                                  was developed early in the Empire              41:13-16, 41:19-42:1, 45:11-12, 45:15-
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                                                                                                  Series development process.                    46:13, 46:16-21.
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                                                                                            13
                                                                                                 131.     Foxuses original music for             Bowler Decl., ¶4, Ex. 69 at 37:22-23,
                                                                                            14
                                                                                                  Empire as opposed to licensed non-             38:2-10, 38:25-39:5, 39:7-13, 39:18-22;
                                                                                            15
                                                                                                  original music at least because it allows      66:24-67:5, 67:8-21, 70:2-17, 70:21;
                                                                                            16
                                                                                                  Foxto use the song in advertising not          Bywater Exs. 3,4
                                                                                            17
                                                                                                  only for the Empi
                                                                                                                  re Series but for “any
                                                                                            18
                                                                                                  of its ancillary businesses.”
                                                                                            19
                                                                                                 132.     Timbaland, a well-respected            Bowler Decl., ¶4, Ex. 69 at 42:3-8,
                                                                                            20
                                                                                                  musical artist and producer, is the            43:12-18, 43:25-44:2, 44:6-11.
                                                                                            21
                                                                                                  executive music producer for Empire
                                                                                            22
                                                                                                  Series Music.
                                                                                            23
                                                                                                 133.     Timbaland works with a team of         Bowler Decl., ¶4, Ex. 69 at 62:6-9,
                                                                                            24
                                                                                                  established music industry partners to         62:12-63:2, 63:11-12, 63:16-64:1, 65:4-
                                                                                            25
                                                                                                  write, produce and finalize the Empi
                                                                                                                                     re          6, 65:9-11.
                                                                                            26
                                                                                                  Series Music for distribution to
                                                                                            27
                                                                                                  consumers.
                                                                                            28
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                           EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3 134. Foxreleases three to five songs               Bowler Decl., ¶4, Ex. 69 at 58:17-19.
                                                                                             4 used in each episode of the Empire
                                                                                             5    Series.
                                                                                             6
                                                                                                 135.     Empire Series Music is often            Bowler Decl., ¶4, Ex. 69 at 79:21-80:9,
                                                                                             7
                                                                                                  released before the Empire Series               81:16-18, 98:16-17, 98:20-99:15,
                                                                                             8
                                                                                                  episode is aired.                               99:18-100:10;113:4-6, 113:11-13.
                                                                                             9
                                                                                                 136.     Approximately 65 songs are              Bowler Decl., ¶4, Ex. 69 at 59:4-7.
                                                                                            10
                                                                                                  released per season of the Empi
                                                                                                                                re Series.
                                                                                            11
                                                                                                 137.     Consumers recognize Empire              Bowler Decl., ¶4, Ex. 69 at 207:6-7,
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                                                                                                  Series Music by the song title.                 207:11-15.
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                                                                                            13
                                                                                                 138.     Empire Series Music is marketed         Bowler Decl., ¶4, Ex. 69 at 59:18-22,
                                                                                            14
                                                                                                  to and available to all consumers, not          60:1-10.
                                                                                            15
                                                                                                  just consumers who have seen the
                                                                                            16
                                                                                                  Empire Series television show.
                                                                                            17
                                                                                                 139.     A team of writers consults with         Bowler Decl., ¶4, Ex. 69 at 48:22-25,
                                                                                            18
                                                                                                  Foxregarding the way that real-life             49:3-5.
                                                                                            19
                                                                                                  record labels operate.
                                                                                            20
                                                                                                 140.     The Empi
                                                                                                                 re Series depicts artists        Bowler Decl., ¶4, Ex. 69 at 61:22-25.
                                                                                            21
                                                                                                  creating original songs in a recording
                                                                                            22
                                                                                                  studio.
                                                                                            23
                                                                                                 141.     The Empi
                                                                                                                 re Series depicts artists        Bowler Decl., ¶4, Ex. 69 at 62:1-3.
                                                                                            24
                                                                                                  giving live performances.
                                                                                            25
                                                                                                 142.     Real-life musical artists appear on     Bowler Decl., ¶4, Ex. 69 at 72:24-13.
                                                                                            26
                                                                                                  and release songs through Empi
                                                                                                                               re.
                                                                                            27
                                                                                                 143.     Real-life musical artists appear on     Bowler Decl., ¶4, Ex. 69 at 73:16-18,
                                                                                            28
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                                                                                             1
                                                                                                         EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    Empire to “bring more reality into the         73:23-74:17, 75:18-24, 83:25-84:7,
                                                                                             4    show.”                                         84:11-21.
                                                                                             5
                                                                                                 144.     Real-life rapper Snoop Dogg            Bowler Decl., ¶4, Ex. 69 at 89:10-25,
                                                                                             6
                                                                                                  appeared on Empire as himself to release       90:1, 90:8-14, 91:2-3, 91:6-7, 91:10-17,
                                                                                             7
                                                                                                  in real-life on iTunes an independently        92:4-7, 92:10-19;93:1-11;Bywater Ex.
                                                                                             8
                                                                                                  created single called “Peaches N Cream” 7.
                                                                                             9
                                                                                                  that was portrayed as being recorded at
                                                                                            10
                                                                                                  and released in partnership with Empire.
                                                                                            11
                                                                                                 145.     Duets with real-life artists           Bowler Decl., ¶4, Ex. 69 at 124:21-
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                                                                                                  improve sales of Empire Series Music.          125:16.
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                                                                                            13
                                                                                                 146.     Foxvalues having talent that           Bowler Decl., ¶4, Ex. 69 at 71:22-24,
                                                                                            14
                                                                                                  could “hold up their own in music”to           72:5-7, 72:9-10, 72:14.
                                                                                            15
                                                                                                  lend authenticity and realism to the
                                                                                            16
                                                                                                  Empire Series.
                                                                                            17
                                                                                                 147.     Empire is “really deep in the          Bowler Decl., ¶4, Ex. 69 at 83:25-84:7,
                                                                                            18
                                                                                                  world of music”and Foxwants “to                84:11-21;Bywater Ex. 6.
                                                                                            19
                                                                                                  make that world feel very real.”
                                                                                            20
                                                                                                 148.     Foxpartners with Columbia to           Bowler Decl., ¶4, Ex. 69 at 94:21-23,
                                                                                            21
                                                                                                  release Empire Series Music in popular         95:1-19, 95:22-97:9, 99:2-99:15, 99:18-
                                                                                            22
                                                                                                  formats (digital and physical) and             100:10;101:8-102:13;108:11-13,
                                                                                            23
                                                                                                  through traditional distribution channels      108:16-23.
                                                                                            24
                                                                                                  (i.e., iTunes, Spotify, Pandora, Walmart,
                                                                                            25
                                                                                                  Target, etc.).
                                                                                            26
                                                                                                 149.     Foxcontemplated rolling out a          Bowler Decl., ¶4, Ex. 69 at 104:13-22;
                                                                                            27
                                                                                                  digital-only format for the Empi
                                                                                                                                 re Series       105:7-22;Bywater Ex. 8.
                                                                                            28
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                                                                                                        EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                                         EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3    Music.
                                                                                             4
                                                                                                 150.     Empire Series Music has appeared       Bowler Decl., ¶4, Ex. 69 at 67:23-68:3,
                                                                                             5
                                                                                                  on the Billboard Top 100 and 200 charts,       68:7-10, 68:16-17, 68:20-69:2, 77:13-
                                                                                             6
                                                                                                  including at No. 1, as well as urban, rap,     23, 78:2-4;114:12-23;114:24-115:1,
                                                                                             7
                                                                                                  R&B, and hip hop genre-specific charts.        115:5-7;172:10-16, 172:18-25.
                                                                                             8
                                                                                                 151.     Empire Series Music has appeared       Bowler Decl., ¶4, Ex. 69 at 170:12-14;
                                                                                             9
                                                                                                  on iTunes hip hop, urban, and album            Bywater Ex. 16.
                                                                                            10
                                                                                                  charts.
                                                                                            11
                                                                                                 152.     Foxhas sold just under 500,000         Bowler Decl., ¶4, Ex. 69 at 163:1-3,
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                                                                                                  physical albums of Empi
                                                                                                                        re Series Music.         163:10-164:1.
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                                                                                            13
                                                                                                 153.     Foxhas sold approximately 3            Bowler Decl., ¶4, Ex. 69 at 164:5-7,
                                                                                            14
                                                                                                  million downloads comprising                   164:11-164:24, 165:15-16, 165:19-21.
                                                                                            15
                                                                                                  individual track sales of Empi
                                                                                                                               re Series
                                                                                            16
                                                                                                  Music.
                                                                                            17
                                                                                                 154.     The largest consumption of             Bowler Decl., ¶4, Ex. 69 at 102:14-18,
                                                                                            18
                                                                                                  Empire Series Music is through                 102:22-103:5;104:20-22.
                                                                                            19
                                                                                                  streaming services such as Spotify.
                                                                                            20
                                                                                                 155.     Empire Series Music has been           Bowler Decl., ¶4, Ex. 69 at 167:3-4,
                                                                                            21
                                                                                                  streamed well over 100 million times.          167:7.
                                                                                            22
                                                                                                 156.     Empire Series Music sells for          Bowler Decl., ¶4, Ex. 69 at 110:3-11.
                                                                                            23
                                                                                                  approximately $13 per album, and $1
                                                                                            24
                                                                                                  per song.
                                                                                            25
                                                                                                 157.     Foxmonitors sales data for the         Bowler Decl., ¶4, Ex. 69 at 161:18-25,
                                                                                            26
                                                                                                  Empire Series Music through platforms          162:9-12;Bywater Ex. 17.
                                                                                            27
                                                                                                  such as SoundScan.
                                                                                            28
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                                                                                                        EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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                                                                                                         EMPIRE’S ADDITIONAL                           EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3 158. As with “Glee,”Foxmaintains                   Bowler Decl., ¶4, Ex. 69 at 120:18-
                                                                                             4 ownership of the Empi
                                                                                                                   re Series Music                121:18;122:13-123:1, 146:21-147:12;
                                                                                             5    and has entered into an unexecuted              148:8-24, 149:6-12, 149:15;Bywater
                                                                                             6    profit-sharing agreement with Columbia          Exs. 14, 15
                                                                                             7    Records.
                                                                                             8
                                                                                                 159.     Fox’s first distribution of             Bowler Decl., ¶4, Ex. 69 at 158:5-8,
                                                                                             9
                                                                                                  under its                 agreement with        158:11-21.
                                                                                            10
                                                                                                  Columbia was for approximately
                                                                                            11
                                                                                                               .
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                                                                                                 160.     Like “GLEE,”Foxintends                  Bowler Decl., ¶4, Ex. 69 at 85:3-10,
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                                                                                            13
                                                                                                  Empire to become a big piece of the             85:14-17.
                                                                                            14
                                                                                                  music business through touring and
                                                                                            15
                                                                                                  marketing.
                                                                                            16
                                                                                                 161.     A dedicated marketing plan is           Bowler Decl., ¶4, Ex. 69 at 123:12-
                                                                                            17
                                                                                                  created with respect to the Empi
                                                                                                                                 re Series        124:3.
                                                                                            18
                                                                                                  Music.
                                                                                            19
                                                                                                 162.     Foxmaintains approval rights            Bowler Decl., ¶4, Ex. 69 at 155:16-24,
                                                                                            20
                                                                                                  over the marketing plan for the Empi
                                                                                                                                     re           156:2-23;Bywater Exs. 23, 25.
                                                                                            21
                                                                                                  Series Music.
                                                                                            22
                                                                                                 163.     Foxhas considered a live concert        Bowler Decl., ¶4, Ex. 69 at 86:12-14,
                                                                                            23
                                                                                                  tour for Empi
                                                                                                              re Series music, in which           86:17-24;87:3-11.
                                                                                            24
                                                                                                  Columbia will have no stake.
                                                                                            25
                                                                                                 164.     Foxhas promoted Empi
                                                                                                                             re Series            Bowler Decl., ¶4, Ex. 69 at 189:16-
                                                                                            26
                                                                                                  Music at the South by Southwest music           190:7, 190:10-12;Bywater Ex. 24.
                                                                                            27
                                                                                                  festival.
                                                                                            28
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                                                                                                                     OPPOSITION TO FOX’S MOTION FOR SUMMARY JUDGMENT
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                                                                                                         EMPIRE’S ADDITIONAL                          EMPIRE’S EVIDENCE
                                                                                             2             MATERIAL FACTS
                                                                                             3 165. Foxseeks and enters into                     Bowler Decl., ¶4, Ex. 69 at 196:11-
                                                                                             4 promotional partnerships involving                197:6;Bywater Ex. 27.
                                                                                             5    Empire Series Music, including with
                                                                                             6    Pepsi.
                                                                                             7
                                                                                                 166.      Foxhas promoted Empi
                                                                                                                              re Series          Bowler Decl., ¶4, Ex. 69 at 200:10-11,
                                                                                             8
                                                                                                  Music on the BET television channel,           200:18-201:5;Bywater Ex. 29.
                                                                                             9
                                                                                                  including via live performances.
                                                                                            10
                                                                                                 167.      Empire is promoted on iHeart          Bowler Decl., ¶4, Ex. 69 at 81:19-82:3,
                                                                                            11
                                                                                                  Radio.                                         82:6-7;Bywater Ex. 5.
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                                                                                                 168.      Foxintends Empire to build a          Bowler Decl., ¶4, Ex. 69 at 208:3-6;
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                                                                                                  music business and consumer products           209:15-24, 210:4-5, 210:8-14;Bywater
                                                                                            14
                                                                                                  brand.                                         Ex. 30.
                                                                                            15
                                                                                                 169.      Fox’s Head of Music, Geoff            Bowler Decl., ¶4, Ex. 69 at 202:1-
                                                                                            16
                                                                                                  Bywater, is familiar with a number of          205:3.
                                                                                            17
                                                                                                  EMPIRE’s very famous clients,
                                                                                            18
                                                                                                  including some that have been pitched to
                                                                                            19
                                                                                                  appear on or have actually appeared on
                                                                                            20
                                                                                                  the Empi
                                                                                                         re Series.
                                                                                            21
                                                                                                 170.      EMPIRE pled a forward and             Bowler Decl., ¶¶10-11.
                                                                                            22
                                                                                                  reverse confusion case.
                                                                                            23
                                                                                                 171.      Foxwas aware of EMPIRE’s              Bowler Decl., ¶¶10-12.
                                                                                            24
                                                                                                  forward and reverse confusion claims.
                                                                                            25
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                                                                                                 Dated: January 19, 2016                      Respectfully submitted,
                                                                                             2                                                TROUTMAN SANDERS LLP
                                                                                             3
                                                                                             4                                                By: /s/ Peter N. Villar
                                                                                                                                                Paul L. Gale
                                                                                             5                                                  Peter N. Villar
                                                                                                                                                John M. Bowler
                                                                                             6                                                  Michael D. Hobbs
                                                                                                                                                Lindsay Mitchell Henner
                                                                                             7
                                                                                                                                                   Attorneys for Defendant-
                                                                                             8                                                     Counterclaimant Empi re
                                                                                                                                                   Distributi
                                                                                                                                                            on Inc.
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                                                                                                      EMPIRE DISTRIBUTION, INC.’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT IN
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